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 7   INC.)
 8
 9                               UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11
12   ADAM ALBARRAN,                                        2:21-cv-4556
                                                 Case No. _____________
13                  Plaintiff,                   DEFENDANT US FOODS, INC.’S
                                                 NOTICE OF REMOVAL OF CIVIL
14            v.                                 ACTION TO UNITED STATES
                                                 DISTRICT COURT
15   US FOODS, INC. dba US
     FOODSERVICE, INC.; and DOES 1 to 10,        [Los Angeles Superior Court, Case
16                                               No. 21STCV14442]
                    Defendants.
17                                               Complaint Filed:   April 16, 2021
                                                 Trial Date:        None Set
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                           DEFENDANT’S NOTICE OF REMOVAL
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 1            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF ADAM ALBARRAN, AND
 3   HIS ATTORNEYS OF RECORD:
 4            1.   PLEASE TAKE NOTICE that Defendant US Foods, Inc. (dba U.S.
 5   FoodService, Inc.) (“US Foods”) files this notice of removal pursuant to 28 U.S.C.
 6   sections 1332, and 1441(a) and (b), based on diversity of citizenship jurisdiction, in order
 7   to effect the removal of the above-captioned action from the Superior Court for the
 8   County of Los Angeles to the United States District Court for the Central District of
 9   California. This removal is proper for the following reasons.
10   I.       BACKGROUND
11            2.   On April 16, 2021, Plaintiff Adam Albarran (“Plaintiff”) filed a Complaint
12   in the Superior Court of California for the County of Los Angeles, entitled “Adam
13   Albarran, Plaintiff, v. US Foods, Inc. dba U.S. Foodservice, Inc.; and Does 1 to 10,
14   Defendants,” Case No. 21STCV14442 (the “Complaint”).
15            3.   In the Complaint, Plaintiff asserts 11 causes against US Foods for:
16   (1) “Wrongful Termination in Violation of Public Policies”; (2) “Medical Leave
17   Retaliation”; (3) “Medical Leave Discrimination”; (4) “Retaliation for Requesting and
18   Using Accommodations for Disabilities”; (5) “Failure to Engage in a Timely, Good Faith,
19   Interactive Process to Determine Reasonable Accommodation for Disability”;
20   (6) “Failure to Reasonably Accommodate Disabilities”; (7) “Disability Discrimination”;
21   (8) “Discrimination Based on Age”; (9) “Retaliation for Opposing Violations of FEHA”;
22   (10) “Failure to Prevent and Stop Harassment, Discrimination, and Retaliation”; and
23   (11) “Whistleblower Retaliation.”
24            4.   On May 4, 2021, US Foods’ registered agent for service of process in
25   California received, via process server, the Summons; Complaint; Civil Case Cover
26   Sheet; Notice of Case Assignment - Unlimited Civil Case; Voluntary Efficient Litigation
27   Stipulations; Alternative Dispute Resolution Information Package; and First Amended
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 1   General Order. A true and correct copy of the service packet received by US Foods is
 2   attached as Exhibit A to this Notice of Removal.
 3            5.   On June 2, 2021, US Foods timely filed its Answer to Plaintiff’s Complaint
 4   in Los Angeles Superior Court. A true and correct copy of US Foods’ Answer to
 5   Plaintiff’s Complaint is attached as Exhibit B to this Notice of Removal.
 6            6.   US Foods has not filed or received any other pleadings or papers, other than
 7   the pleadings described as Exhibit A and Exhibit B, in this action prior to this Notice of
 8   Removal. (Declaration of Jonathan L. Brophy (“Brophy Decl.”), ¶ 3.)
 9   II.      TIMELINESS OF REMOVAL
10            7.   The time for filing a Notice of Removal does not begin to run until a party
11   has been formally served with the summons and complaint under the applicable state law
12   “setting forth the claim for relief upon which such action or proceeding is based” or, if
13   the case stated by the initial pleading is not removable, after receipt of any “other paper
14   from which it may be first ascertained that the case is one which is or has become
15   removable.” 28 U.S.C. §§ 1446; Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526
16   U.S. 344, 347-48 (1999) (holding that “a named defendant’s time to remove is triggered
17   by simultaneous service of the summons and complaint”); accord Kenny v. Wal-Mart
18   Stores, Inc., 881 F.3d 786, 791 (9th Cir., Feb. 1, 2018) (“We have also emphasized that ‘a
19   defendant does not have a duty of inquiry if the initial pleading or other document is
20   ‘indeterminate’ with respect to removability.’ Roth v. CHA Hollywood Med. Ctr., L.P.,
21   720 F.3d 1121, 1125 (9th Cir. 2013) (citing Harris v. Bankers Life & Cas. Co., 425 F.3d
22   689, 693-94 (9th Cir. 2005)). Accordingly, ‘even if a defendant could have discovered
23   grounds for removability through investigation, it does not lose the right to remove
24   because it did not conduct such an investigation and then file a notice of removal within
25   thirty days of receiving the indeterminate document.’”).
26            8.   The service of process which triggers the 30-day period to remove is
27   governed by state law. City of Clarksdale v. BellSouth Telecomms., Inc., 428 F.3d 206,
28   210 (5th Cir. 2005) (“Although federal law requires the defendant to file a removal
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 1   motion within thirty days of service, the term ‘service of process’ is defined by state
 2   law.”).
 3            9.    This Notice of Removal is timely because it is filed within thirty (30) days
 4   of personal service of the Summons and Complaint on March 4, 2020. 28 U.S.C.
 5   § 1446(b); Cal. Civ. Proc. Code § 415.10 (“A summons may be served by personal
 6   delivery of a copy of the summons and of the complaint to the person to be served.
 7   Service of a summons in this manner is deemed complete at the time of such delivery.”).
 8   III.     JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP
 9            10.   The Court has original jurisdiction of this action under 28 U.S.C.
10   section 1332(a)(1). As set forth below, this action is removable pursuant to the
11   provisions of 28 U.S.C. section 1441(a) as the amount in controversy is in excess of
12   $75,000, exclusive of interest and costs, and is between citizens of different states.
13            A.    Plaintiff Adam Albarran Is A Citizen Of California
14            11.   For diversity purposes, a person is a “citizen” of the state in which he or she
15   is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
16   A person’s domicile is the place he or she resides with the intent to remain indefinitely.
17   Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). Residence is prima
18   facie evidence of domicile. State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520
19   (10th Cir. 1994) (holding that “the place of residence is prima facie [evidence of]
20   domicile”).
21            12.   Plaintiff is and, at all times since the commencement of this action has been,
22   a resident and citizen of the State of California. The Complaint alleges that, “At all
23   relevant times, Plaintiff ADAM ALBARRAN is and was an individual residing in the
24   County of Los Angeles, State of California.” (See Ex. A, Compl., ¶ 4.)
25            13.   US Foods’ review of Plaintiff’s personnel file and public records reveals that
26   Plaintiff resides in California. (See Brophy Decl., ¶ 4, Ex. C; Declaration of Jessica
27   Byrne (“Byrne Decl.”), ¶ 5.) Furthermore, the Complaint alleges that US Foods is
28   authorized to and does conduct business in the State of California and that Plaintiff
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 1   worked for US Foods as an “Order Selector” at the US Foods location in La Mirada,
 2   California. (See Ex. A, Compl., ¶¶ 5, 10.)
 3            14.   Plaintiff, therefore, is, and at all times since the commencement of this
 4   action has been, a resident and citizen of the State of California.
 5            B.    Defendant US Foods, Inc., Is Not A Citizen Of California
 6            15.   For diversity purposes, “a corporation is a citizen of (1) the state under
 7   whose laws it is organized or incorporated; and (2) the state of its ‘principal place of
 8   business.’” Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir. 2009).
 9            16.   The United States Supreme Court has held that a corporate entity’s
10   “principal place of business” for determining its citizenship is its “nerve center.” The
11   Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010). In determining a corporation’s “nerve
12   center,” courts are to examine where the “corporation’s officers direct, control, and
13   coordinate the corporation’s activities,” and where the corporation maintains its
14   headquarters. Id. at 92. Other relevant factors include where corporate executives
15   maintain their offices, where corporate policies and procedures are made, and where
16   primary corporate functions are based. See Ho v. Ikon Office Solutions, Inc., 143 F.
17   Supp. 2d 1163, 1168 (N.D. Cal. 2001) (nerve center found to be location where
18   corporations headquarters were located, where the corporate officers worked, and from
19   where the corporate policies and procedures arose). Thus, the “nerve center” is “where
20   the majority of its executive and administrative functions are performed.” Tosco v.
21   Cmtys. for a Better Env’t, 236 F.3d 495, 500 (9th Cir. 2001) (citation omitted).
22            17.   US Foods is now, and was at the time of the filing of this action, a citizen of
23   a State other than California within the meaning of 28 U.S.C. section 1332(c)(1). See
24   Davis, 557 F.3d at 1028 (citing 28 U.S.C. 1332(c)(1)); The Hertz Corp., 559 U.S. at 92-
25   93.
26            18.   US Foods is now, and ever since this action commenced has been,
27   incorporated under the laws of the State of Delaware. (Byrne Decl., ¶ 3.)
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 1            19.     Under the “nerve center” test, Illinois emerges as US Foods’ principal
 2   place of business. US Foods’ corporate headquarters are located in Rosemont, Illinois,
 3   where US Foods’ high level officers direct, control, and coordinate US Foods’ activities.
 4   (Byrne Decl., ¶ 4.) US Foods’ high level corporate officers maintain offices in Illinois,
 5   and many of US Foods’ corporate level functions are performed in or are directed from
 6   the Illinois headquarters. (Byrne Decl., ¶ 4.)
 7            20.    Therefore, for purposes of diversity of citizenship, US Foods is a citizen of
 8   Delaware and Illinois, and not a citizen of California.
 9            C.     Doe Defendants May Be Disregarded
10            21.    Pursuant to 28 U.S.C. Section 1441(a), the residence of fictitious and
11   unknown defendants should be disregarded for purposes of establishing removal
12   jurisdiction under 28 U.S.C. section 1332. Fristoe v. Reynolds Metals, Co., 615 F.2d
13   1209, 1213 (9th Cir. 1980) (unnamed defendants are not required to join in a removal
14   petition). Thus, the existence of Doe Defendants 1 to 10 does not deprive this Court of
15   jurisdiction.
16            22.    Because Plaintiff is a citizen of California and US Foods is not a citizen of
17   California, diversity of citizenship exists for purposes of removal.
18   IV.      AMOUNT IN CONTROVERSY
19            23.    While US Foods’ denies any liability as to Plaintiffs’ claims, the amount in
20   controversy requirement is satisfied because “it is more likely than not” that the amount
21   exceeds the jurisdictional minimum of $75,000. See Sanchez v. Monumental Life Ins.,
22   102 F.3d 398, 403-04 (9th Cir. 1996) (“[T]he defendant must provide evidence
23   establishing that it is ‘more likely than not’ that the amount in controversy exceeds [the
24   threshold] amount.”) (internal quotations and citations omitted).
25            24.    As explained by the Ninth Circuit, “the amount-in-controversy inquiry in the
26   removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins.
27   Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (finding that the Court may consider facts
28   presented in the removal petition). When the amount in controversy is not apparent from
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 1   the face of the complaint, a defendant may state underlying facts supporting its assertion
 2   that the amount in controversy exceeds the jurisdictional threshold. Gaus v. Miles,
 3   Inc., 980 F.2d 564, 566-67 (9th Cir. 1992).
 4            25.   In determining the amount in controversy, the Court must consider the
 5   aggregate of general damages, special damages, punitive damages, and attorneys’ fees.
 6   Galt G/S v. JSS Scandinavia, 142 F. 3d 1150, 1156 (9th Cir. 1998) (claims for statutory
 7   attorneys’ fees to be included in amount in controversy, regardless of whether such an
 8   award is discretionary or mandatory); Davenport v. Mut. Benefit Health & Accident
 9   Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into account
10   where recoverable under state law); Conrad Assocs. v. Hartford Accident & Indem. Co.,
11   994 F. Supp. 1196, 1198 (N.D. Cal. 1998) (“amount in controversy” includes claims for
12   general and special damages, including attorneys’ fees and punitive damages).
13            26.   Further, in determining the amount in controversy at the time of removal, the
14   Court is not limited to the amount of damages incurred as of the time of removal, but may
15   look forward in time to damages that can be recovered in the future. Chavez v. JP
16   Morgan Chase & Co., 888 F.3d 413, 417-18 (9th Cir. 2018) (“That the amount in
17   controversy is assessed at the time of removal does not mean that the mere futurity of
18   certain classes of damages precludes them from being part of the amount in controversy .
19   . . In sum, the amount in controversy includes all relief claimed at the time of removal to
20   which the plaintiff would be entitled if she prevails.”).
21            27.   Here, considered together, the general and special damages sought by
22   Plaintiffs, along with the attorneys’ fees and punitive damages that might be awarded if
23   Plaintiffs prevail, establish by a preponderance of the evidence that the amount in
24   controversy exceeds $75,000, exclusive of interest and costs, as required by 28 U.S.C.
25   § 1332(a).
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 1            A.    Plaintiff’s Prayer For Relief Establishes That The Amount In
                    Controversy Is At Least $75,000
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 3            28.   When a defendant seeks removal on diversity grounds, “the sum demanded
 4   in good faith [by the plaintiff] in the initial pleading shall be deemed to be the amount in
 5   controversy.” 28 U.S.C. § 1446(c)(2); see Sanchez v. Monumental Life Ins. Co., 102 F.3d
 6   398, 402 (9th Cir. 1996) (“[T]he sum claimed by the plaintiff controls,” unless it appears
 7   “that the claim is really for less than the jurisdictional amount.”) (quoting St. Paul
 8   Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288-89 (1938)).
 9            29.   In Plaintiff’s initial pleading, Plaintiff prays “[f]or special compensatory
10   damages, including past and future lost wages and medical expenses, in an amount to be
11   proven, but estimated to be no less than $200,000.” (See Ex. A, Compl., Prayer for
12   Relief, ¶ 1 (emphasis added).) Plaintiffs also pray “[f]or general compensatory damages,
13   including past and future emotional distress, in an amount to be proven, but estimated to
14   be no less than $400,000.” (See Ex. A, Compl., Prayer for Relief, ¶ 2 (emphasis added).)
15            30.   Accordingly, Plaintiff’s demand for an amount of damages of no less than
16   $600,000 should be deemed the amount in controversy, which satisfies and exceeds the
17   jurisdictional threshold.
18            B.    Plaintiff’s Individual Claims Otherwise Exceed $75,000
19            31.   Even if Plaintiff had not demanded no less than $600,000 in damages, the
20   amount in controversy requirement is still satisfied because “it is more likely than not”
21   that it exceeds the jurisdictional minimum based on the allegations in the Complaint. See
22   Sanchez, 102 F.3d at 404 (“the defendant must provide evidence establishing that it is
23   ‘more likely than not’ that the amount in controversy exceeds [the threshold] amount”)
24   (internal citation omitted).
25            32.   In the Complaint, Plaintiff alleges 11 causes of action against US Foods for:
26   (1) “Wrongful Termination in Violation of Public Policies”; (2) “Medical Leave
27   Retaliation”; (3) “Medical Leave Discrimination”; (4) “Retaliation for Requesting and
28   Using Accommodations for Disabilities”; (5) “Failure to Engage in a Timely, Good Faith,
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 1    Interactive Process to Determine Reasonable Accommodation for Disability”;
 2    (6) “Failure to Reasonably Accommodate Disabilities”; (7) “Disability Discrimination”;
 3    (8) “Discrimination Based on Age”; (9) “Retaliation for Opposing Violations of FEHA”;
 4    (10) “Failure to Prevent and Stop Harassment, Discrimination, and Retaliation”; and
 5    (11) “Whistleblower Retaliation.”
 6             33.   Plaintiff claims damages for general and special damages, including but not
 7    limited to past and future lost wages, emotional distress, punitive damages, and attorneys’
 8    fees and costs. (See Ex. A, Compl., Prayer for Relief, at ¶¶ 1-3, 7-8; see also Ex. A,
 9    Compl., ¶¶ 47-48, 51-52, 57-58, 62-63, 66-67, 70-71, 75-76, 80-81, 83-84, 91-92, 95-96,
10    99-100.) Thus, it is more likely than not that the amount in controversy exceeds $75,000.
11                   1.    Compensatory Damages
12             34.   Plaintiff was employed by US Foods as an “Order Selector” from
13    approximately October 1989 until approximately September 18, 2020. (Ex. A, Compl.,
14    ¶ 10.) As a result of his alleged wrongful termination, Plaintiff alleges that he has
15    suffered “general and special damages,” including “past and future lost wages.” (Ex. A,
16    Compl., ¶¶ 47, 51, 57, 62, 66, 70, 75, 80, 83, 91, 95, 99; Prayer for Relief, at ¶¶ 1-2.)
17             35.   At the time of his termination, Plaintiff was a full-time, hourly employee
18    who earned $28.33 per hour. (Byrne Decl., ¶ 6.) Given that Plaintiff alleges that he was
19    wrongfully terminated on September 18, 2020, Plaintiff has already incurred at least 37
20    weeks of lost compensation totaling $41,928.40 ($28.33 per hour X 40 hours X 37 weeks
21    (September 18, 2020 through June 3, 2021)).
22             36.   Assuming this matter goes to trial one year after its April 16, 2021 filing,
23    and Plaintiff remains unemployed for a total of 82 weeks (September 18, 2020 to
24    April 16, 2022), Plaintiff J.T.’s lost income would equal $92,922.40 ($28.33 X 40 hours
25    X 82 weeks (September 18, 2020 to April 16, 2022)).
26             37.   Additionally, should Plaintiff prevail at trial, it is more likely than not that he
27    would recover over $75,000 in damages as there have been, in recent years, several
28    verdicts in similar disability discrimination and wrongful termination cases entered in
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 1    favor of plaintiffs in California where the awarded damages exceeded $75,000. See
 2    Vasquez v. Los Angeles Cnty. Metro. Transp. Auth., 2013 WL 7852947 (Los Angeles
 3    Sup. Ct.) (award of $1,904,635 to employee in violation of the CFRA and disability
 4    discrimination action); Aboulafia v. GACN Inc., 2013 WL 811991 (Los Angeles Sup. Ct.)
 5    (award of $1,361,756, $1,447,634, $1,503,074, and $1,368,266 to four employees for
 6    their discrimination claims); Silverman v. Stuart F. Cooper Inc., 2013 WL 5820140 (Los
 7    Angeles Sup. Ct.) (jury verdict of $325,223 awarded to employee in discrimination
 8    action); Bisharat v. Los Angeles Unified Sch. Dist., 2013 WL 1415554 (Los Angeles Sup.
 9    Ct.) ($473,750 jury verdict awarded to employee alleging disability discrimination,
10    failure to prevent discrimination, failure to accommodate, failure to engage in the
11    interactive process, and constructive discharge); Jolly v. City of Long Beach, 2013 WL
12    3340512 (Los Angeles Sup. Ct.) ($325,000 awarded to employee alleging disability
13    discrimination, retaliation, failure to engage in interactive process, failure to prevent
14    discrimination/harassment, and constructive discharge); Siglin v. Carden Whittier Sch.
15    Inc., 2012 WL 1798892 (Los Angeles Sup. Ct.) (jury award of $323,985 to employee
16    who was wrongfully terminated in retaliation for taking medical leave in violation of the
17    CFRA); Sun v. Transit Air Cargo, Inc., 2012 WL 933613 (Orange County Sup. Ct.)
18    (award of $75,290 to employee in discrimination and violation of California Family
19    Rights Act action); O’Connor v. UHS-Corona Inc., 2011 WL 3606915 (Riverside Sup.
20    Ct.) (jury verdict awarding $1,630,334 to employee who brought action against employer
21    for retaliation in violation of the CFRA); Vanderheiden v. City of Alameda, 2011 WL
22    1562075 (Alameda County Sup. Ct.) (award of $680,182 to employee in discrimination
23    action); Ward v. Cadbury Schweppes Bottling Grp., 2011 WL 7447633 (C.D. Cal) (jury
24    award of $17,899,400 to six employees in an alleged discrimination case); Peacock v.
25    Quest Diagnostics, 2010 WL 6806990 (C.D. Cal.) (award of $229,639 to employee in
26    discriminatory termination in violation of the CFRA); Dodd v. Haight Brown &
27    Bonesteel LLP, 2010 WL 4845803 (Los Angeles Sup. Ct.) (jury verdict awarding
28    employee $410,520 in disability discrimination action); Ybarra v. Dacor Holding Inc.,
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 1    2010 WL 2404221 (L.A. County Sup. Ct.) (award of $615,236 to employee in disability
 2    discrimination and wrongful termination action); Malone v. Potter, 2009 WL 999514
 3    (C.D. Cal.) (award of $300,000 to employee in disability discrimination and retaliation
 4    action); Beard v. Los Angeles Cnty. Law Library, 2009 WL 250543 (Los Angeles Sup.
 5    Ct.) (award of $146,000 to employee who was wrongfully terminated based upon her age
 6    and race).
 7             38.   Plaintiff’s allegations that he was discriminated against and discharged
 8    because of his medical leave and purported disability are factually similar to the issues in
 9    these cases. US Foods has attached these verdicts as Exhibit D to the concurrently filed
10    Declaration of Jonathan L. Brophy for the Court’s review.
11                   2.    Emotional Distress Damages
12             39.   Plaintiffs also claim damages for emotional distress. (Ex. A, Compl., ¶ 47;
13    Prayer for Relief, at ¶ 2.) A review of jury verdicts in California demonstrates that
14    emotional distress awards in discrimination cases commonly exceed $75,000. See
15    Silverman v. Stuart F. Cooper Inc., 2013 WL 5820140 (Los Angeles Sup. Ct.) (jury
16    awarded $157,001 for emotional distress damages in discrimination case); Vasquez v. Los
17    Angeles Cnty. Metro. Transp. Auth., 2013 WL 7852947 (Los Angeles Sup. Ct.) (award of
18    $1,250,000 for pain and suffering to employee in discrimination action); Aboulafia v.
19    GACN Inc., 2013 WL 8115991 (Los Angeles Sup. Ct.) (pain and suffering award of
20    $250,000, $250,000, $250,000, and $250,267 to four employees in discrimination
21    action); Ward v. Cadbury Schweppes Bottling Grp., 2011 WL 7447633 (C.D. Cal) (jury
22    award $5,600,000 in non-economic damages in discrimination and retaliation case);
23    Welch v. Ivy Hill Corp., 2011 WL 3293268 (Los Angeles Sup. Ct.) (award of $1,270,000
24    in pain and suffering to employee in a discrimination action); Leimandt v. Mega RV
25    Corp., 2011 WL 2912831 (Orange County Sup. Ct.) (jury awarded $385,000 in pain and
26    suffering to employee in a discrimination case); Peacock v. Quest Diagnostics, 2010 WL
27    6806990 (C.D. Cal.) (jury award of $150,000 in non-economic loss to employee in action
28    for discrimination action).
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 1             40.   Plaintiff’s allegations of emotional distress are similar to the issues raised in
 2    these cases. US Foods has attached these verdicts as Exhibit E to the concurrently filed
 3    Declaration of Jonathan L. Brophy for the Court’s review.
 4             C.    Attorneys’ Fees And Costs
 5             41.   Plaintiff also claimd that he is entitled to attorneys’ fees and costs. (See
 6    Ex. A, Compl., ¶¶ 51, 57, 62, 66, 70, 75, 80, 83, 91, 95; Prayer For Relief, ¶ 8.)
 7    Attorneys’ fees are properly considered in calculating the amount in controversy for
 8    purposes of removal on grounds of diversity jurisdiction. Galt G/S v. JSS
 9    Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees to
10    be included in amount in controversy, regardless of whether such an award is
11    discretionary or mandatory).
12             42.   Courts have also awarded far in excess of $75,000 in attorneys’ fees in cases
13    involving employment-related claims. See, e.g., Crawford v. DIRECTV, Inc., 2010
14    WL 5383296 (Los Angeles County Sup. Ct.) (approving attorneys’ fee award of
15    $159,762.50); Davis v. Robert Bosch Tool Corp., 2007 WL 2014301, *9 (Cal. Ct. App.
16    2d Dist. July 13, 2007) (individual plaintiff sought $1.6 million in fees); Denenberg v.
17    Cal. Dep’t of Transp., 2006 WL 5305734 (San Diego County Sup. Ct.) (attorneys’ fees
18    award of $490,000 for claims). US Foods has attached these verdicts as Exhibit F to the
19    concurrently filed Declaration of Jonathan L. Brophy for the Court’s review.
20             43.   US Foods anticipates depositions being taken in this case, and that
21    ultimately, US Foods will file a Motion for Summary Judgment. Based on defense
22    counsel’s experience, attorneys’ fees in employment discrimination and wrongful
23    termination cases often exceed $75,000. In this regard, it is more likely than not that the
24    fees will exceed $75,000 through discovery and a summary judgment hearing, and the
25    fees would certainly exceed $75,000 if the case proceeds to trial. (Brophy Decl. ¶ 6.)
26             D.    Punitive Damages
27             44.   Finally, the Court must also consider Plaintiff’s request for punitive damages
28    in determining the amount in controversy. Davenport v. Mutual Benefit Health and
                                             11
                               DEFENDANT’S NOTICE OF REMOVAL
      70503303v.1
     Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 14 of 86 Page ID #:14



 1    Accident Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into
 2    account where recoverable under state law). (See Ex. A, Compl., ¶¶ 52, 58, 63, 67, 71,
 3    76, 81, 84, 92, 96, 100; and Prayer for Relief, ¶ 3.)
 4             45.   Courts have affirmed jury verdicts exceeding $1 million in punitive damages
 5    in alleged retaliation cases. See, e.g., Roby v. McKesson Corp., 47 Cal. 4th 686 (2009).
 6             46.   Based upon the allegations contained in the Complaint, US Foods is
 7    informed and believe that Plaintiff seeks damages within the jurisdictional authority of
 8    this Court.
 9             47.   Because diversity of citizenship exists between the Plaintiff and US Foods,
10    and the matter in controversy between the parties is in excess of $75,000, this Court has
11    original jurisdiction of the action pursuant to 28 U.S.C. section 1332(a)(1). This action is
12    therefore a proper one for removal to this Court.
13    V.       VENUE
14             48.   Venue lies in the Central District of California pursuant to 28 U.S.C.
15    sections 1441(a), 1446(a), and 84(c). This action originally was brought in the Superior
16    Court of the State of California, County of Los Angeles, which is located within the
17    Central District of the State of California. (See Ex. A, Compl.)
18    VI.      NOTICE OF REMOVAL
19             49.   Pursuant to 28 U.S.C. Section 1446(d), written notice of the filing of this
20    Notice of Removal will be given promptly to Plaintiff and, together with a copy of the
21    Notice of Removal, will be filed with the Clerk of the Superior Court of the State of
22    California, County of Los Angeles, in the State Court Action.
23             50.   This Notice of Removal will be served on counsel for Plaintiff. A copy of
24    the Proof of Service regarding the Notice of Removal will be filed shortly after these
25    papers are filed and served.
26             51.   In compliance with 28 U.S.C. section 1446(a), true and correct copies of all
27    process, pleadings, and orders filed and/or served in this action are attached as Exhibits A
28    through B to this Notice of Removal.
                                            12
                              DEFENDANT’S NOTICE OF REMOVAL
      70503303v.1
     Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 15 of 86 Page ID #:15



 1    VII. PRAYER FOR REMOVAL
 2             52.   WHEREFORE, US Foods prays that this civil action be removed from the
 3    Superior Court of the State of California, County of Los Angeles, to the United States
 4    District Court for the Central District of California.
 5    DATED: June 2, 2021                             SEYFARTH SHAW LLP
 6
 7                                                    By: /s/ David Rosenberg
                                                         Jonathan L. Brophy
 8                                                       David Rosenberg
                                                         Attorneys for Defendant
 9                                                       US FOODS, INC. dba US
                                                         FOODSERVICE, INC.
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                             DEFENDANT’S NOTICE OF REMOVAL
      70503303v.1
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 16 of 86 Page ID #:16




                        EXHIBIT A
               Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 17 of 86 Page ID #:17
Electronically FILED by Superior Court of California. County of Los Angeles on 04/16/2021 10:52 AM Sherri R. Carter. Executive Officer/Clerk of Court. by R. Perez,Deputy Clerk
                                                                                       21STCV14442

                                                                                                                                                                           SUM-100

                                                         SUMMONS                                                                                     FOR COURT USE ONLY
                                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                                (CITACION JUDICIAL)
          NOTICE TO DEFENDANT:
          (AVISO AL DEMANDADO):
          US FOODS, INC. dba U.S. FOODSERVICE, INC.; and DOES 1 to 10,


          YOU ARE BEING SUED BY PLAINTIFF:
          (LO ESTA DEMANDANDO EL DEMANDANTE):
          ADAM ALBARRAN

           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form, if you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
           (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            jAVISO! Lo han demandado. Si no responde dentro de 30 dies, la corte puede decidir en su contra sin escuchar su version. Lea fa information a
           continuacibn.
               Tiene 30 DiAS DE CALENDARIO despues de que le entreguen este citation y papeles legates pare presenter una respuesta por escrito en esta
           code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefanica no to protegen. Su respuesta por escrito tiene que ester
           en format() legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted puede user pare su respuesta.
           Puede encontrar estos formularios de la code y mas informaci0n en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
           biblioteca de /eyes de su condado o en /a code que le quede ma's cerca. Si no puede pager la cuota de presentation, pida al secretario de la code que
           le rid un formulario de exencibn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code te padre.
           guitar su sueldo, dinero y bienes sin mas advertencia.
              Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
           remisi0n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
           (www.lawhetpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
           colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer tin gravamen sobre
           cualquier recuperaci0n de $10,000 6 mas de valor recibida mediante L111 acuerdo o una concesi0n de arbitraje en un caso de derecho civil. Tiene que
           pager el gravamen de la code antes de que la code pueda desechar el caso.
          The name and address of the court is:                                                                               CASE NUMBER: (Wither() del Caso):
          (El nombre y direccian de la code es): Stanley Mosk Courthouse, 111 N Hill St, Los
                                                                                                                                   21STCV1 4442
          Angeles, CA 90012

          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre; la direcci0n y el n0mero
          de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
          Geoffrey C. Lyon; Lyon Law PC 3605 Long Beach Blvd. Ste. 311 Long Beach, CA 90807; 310-818-7700
          DATE:                                                                        Clerk, by                                                                           , Deputy
          (Fecha)           BT4PlEgo21        Sherri R. Carter Executive Officer! Clerk of Court
                                                                                       (Secretario)         R.                                  Perez                      (Adjunto)
          '(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de este citation use el formulario Proof of Service of Summons, (POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
           • [SEAL]
                                                    1.           as an individual defendant.
                                                    2.           as the person sued under the fictitious name of (specify):

                                                    3.      X    on behalf of (specify):        US Foods, Inc. dba U.S. FoodService, Inc.
                      _!r                                 under:     X  CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                14                                      CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                        CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                        of,
                                                                        other (specify):
                                                    4.           by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
          Form Adopted for Mandatory Use
          Judicial Council of California
                                                                                        SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                         www.cciurts.ca.gov
          SUM-100 [Rev. July 1, 2000]

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              Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 18 of 86 Page ID #:18
Electronically FILED by Superior Court of California. County of Los Angeles on 04/16/2021 10:52 AM Sherri R. Carter. Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                                                                                       21STCV14442

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                                                          SUMMONS                                                                                    FOR COURT USE ONLY
                                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                                (CITACiON JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):
           US FOODS, INC. dba U.S. FOODSERVICE, INC.; and DOES 1 to 10,


           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTA DEMANDANDO EL DEMANDANTE):
           ADAM ALBARRAN

           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
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           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           iAVISO! Lo hen demanded°. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la informaci6n a
           continuation.
              Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citadel-) y papeles legates pare presenter una respuesta por escrito en esta
           code y hater que se entregue una copia al demandante. Una carte o one ilamada telefenica no lo protegen. Su respuesta par escrito tiene que ester
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           Puede encontrar estos formularios de la code y mas informacien en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de /eyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentacion, pida al secreted° de la code que
           le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo. puede perder el caso por incumplimiento y la code le podia
           guitar su sueldo, dinero y bienes sin mas advertencia.
              Hay otros requisitos legates. Es recomendable que Ilame a on abogado inmediatamente. Si no conoce a un abogado, puede Hamar a on servicio de
           remisi0n a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de Nero en el sitio web de California Legal Services,
           (www.lawhelpcalifomiaorg), en el Centro de Ayuda de las Codes de California, (www.sucode.ca.gov) o poniendose en contacto con la code o el
           cotegio de abogados locales. A V/SO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
           cualquier recuperation de $10,000 6 mas de valor recibida mediante on acuerdo o una concesien de arbitraje en on caso de derecho civil. Tiene que
           pager el gravamen de la code antes de que la code pueda desechar el caso.
           The name and address of the court is:                                                                               CASE NUMBER: (Narner° del Caso):
           (El nombre y direcciOn de la code es): Stanley Mosk Courthouse, 111 N Hill St, Los                                      21 STQ\114442
           Angeles, CA 90012

           The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direccion y el namero
           de telefono del abogado del demandante, o del demandante que no (lane abogado, es):
           Geoffrey C. Lyon; Lyon Law PC 3605 Long Beach Blvd. Ste. 311 Long Beach, CA 90807; 310-818-7700
           DATE:                                                                        Clerk, by                                                                           , Deputy
           (Fecha)     1301150321             Sherri R. Carter Executive Officer/ Clerk of Court
                                                                                        (Secretario)         R.                                  Perez                      (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                                     NOTICE TO THE PERSON SERVED: You are served
            [SEAL]
                                                     1.           as an individual defendant.
                           t.
                                                     2.           as the person sued under the fictitious name of (specify):

                                                     3.     x     on behalf of (specify):
                                                          under:         CCP 416.10 (corporation)                                         CCP 416.60 (minor)
                                                                         CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                                         CCP 416.40 (association or partnership)                          CCP 416.90 (authorized person)
                                                                         other (specify):
                                                     4.           by personal delivery on (date):
                                                                                                                                                                                Page 1 of 1
           Form Adopted for Mandatory Use                                                                                                             Code of Civil Procedure §§ 412.20. 465
           Judicial Council of California
                                                                                         SUMMONS
                                                                                                                                                                          www.courtaca.gov
           SUM-100 [Rev. July 1, 2009]

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Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 19 of 86 Page ID #:19




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       5
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
       6
                                         FOR THE COUNTY OF LOS ANGELES
       7
       8 IN RE LOS ANGELES SUPERIOR COURT )                   FIRST AMENDED GENERAL ORDER
           MANDATORY ELECTRONIC FILING )
       9 FOR an.
      10
      11
      12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
      13 documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
      14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
      15   Unlimited Civil cases by lidgants represented by attorneys. (California Rules of Court, rule 2.253(b).)
      16   MI electroalcally tiled documents in Limited and Non-Complex Unlimited cases are subject to the
      17 following:
      18 1) DEFINITIONS
      19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
      20          quickly locate and navigate to a designated point of interest within a document.
      21      b) "Mktg Portal" The official court website includes a webpage, referred to es the efiling
      22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
      23      c) "Niedrenle Envelope" A transaction through the electronic service provider for submission
     24           of documents to flue Court for processing which may contain one or more PDF documents
     25           attacked.
      26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
      27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
      28

                              FIRST AMENDED mem ORDEt RE MANDATORY ELECTRONIC FILIN0 FOR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 20 of 86 Page ID #:20




                                                                                                     2119404-01440



       1     e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP)ha
       2        person or entity that ;receives en electronic filing from a party for retransmission to the Court.
       3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
       4        agent of the Court. (California Rules of Court, rule 2.250(bX8).)
       5     fl "Electrode Signature" For purposes of these local rules and in conformity with Code of
       6        Civil Protxdure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
       7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
       8        2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
       9        process attached to or logically associated with an electronic record and executed or adopted
      10        by a person with the intent to sign the electronic record.
      11     g) "Bypath*" An electronic link providing direct access from one distinctively marked place
      12        in a hypertext or hypermedia document to another in the same or different document
      13     h) "Portable Document Format" A digital document format that preserves all fonts,
      14        formatting, colors and graphics of the original source document, regardless of the application
      15        platform used.
      16   2) MANDATORY ELECTRONIC FILING
      17     a) Trial Court Records
      18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
      19        and preserved in electronic format. Any document that the Court receives electronically must
      20        be clerically processed and must satisfy all legal filing requirements in order to be filed as en
      21        official court record (California Rules of Court, roles 2,100, et seq. and 2.253(bX6)}.
      22     b) Represented Litigants
      23        Pursuant to California Rules of Court, role 2.253(b), represented litigants ate required to
      24        electronically file documents with the Court through en approved EFSP.
      25     c) Public Notice
      26        The Court has issued a Public Notice with effective dates the Court required pestles to
      27        electronically file documents through one or mom approved EPSPs, Public Notices containing
      38        effective dates and the list of EFSPs ems available on the Court's website, at =dew=
                                                           2
                          FIRST AMENDED GENERAL ORDER RE MANDAIORY ELECIROISRC FILING FOR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 21 of 86 Page ID #:21




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      1        d) Documents in Related Cases
      2           Documents in related cams must be electronically hied in the eFiling portal for that case type if
      3           electronic Sling has been implemented in that case type, regardless of whether the case has
      4           been related to a Civil case.
      5 3) EXEMPT Li IGANTS
      6        a) Pursuant to California Rules of Court. rule 2.253(bX2), self epresented litigants are exempt
      7           from mandatory electronic filing requirements.
      8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (dX3) and California Rules of
      9           Court, rule 2253(bX4). any party may make application to the Court requesting to be excused
     10           from filing documents electronically and be pandued to file documents by conventional
     11           means if the party shows undue hardship or significant prejudice.
     12   4)   EXEMPT FILINGS
     13        a) The tolloiving documents shall not be filed electronically:
     14           1)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
     15                 Civil Procedure sections 170.6 or 170.3;
     16           ii)   Bonds/Undertaking documents;
     17                 Tdal and Evidentiary Hearing Exhibits
     18           iv) Any ex parte application that is filed concurrently with a new complaint including those
     19                 that will be handled by a Writs and Receivers department in the Mask courthouse; and
     20           v)    Documents submitted conditionally underseas. The actual motion or application shall be
     21                 electronically filet A courtesy copy of the electronically filed motion or application to
     22                 submit documents conditionally uoder seal must be provided with the documents
     23                 submitted conditionally under seal.
     24        b) Lodgments
     25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
     26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
     27 11
     28   //

                                                             3
                             FIRST AMENDED GENERAL ORDER RE MANDATORY REGGIO= RUNG FOR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 22 of 86 Page ID #:22




                                                                                                   201941M4114.00



       1 5) ELECTRONIC FILING SYSIEM WORKING PROCEDURES
       2    Electronic filing service providers must obtain and manage registration information for persons
       3    and entities electrordeally filing with the court.
       4 6) TECHNICAL REQUIREMENTS
       5    a) Electronic documents must be electronically filed in PDF, text searchable format when
       6       technologically feasible without impairment of the document's image.
       7    b) The table of contents for•any filing must be bookmarker!.
       8    e) Electronic documents, including but not limited to, declarations, proofs of service, and
       9       exhibits, must be bookmarked within the document pursuant to Califomititules of Court, rule
      10       3.1110(tX4). Electrode boolanarks must include links to the first page death bookmarked
      11       item (3.g. exhibits, declarations, deposition excerpts) and with bookinuic titles that identify the
      12       bookedurarked item and briefly describe the Mtn.
      13    d) Attachments to primary documents must be bookmarked. Examples include, but are not
      14        limited to, the following:
      15       1)     Depositions;
      16       ii)   Declarations;
      17       Hi) Exhibits (including exhibits to declarations);
      18       iv) Transcripts (including excerpts within transcripts);
      19        v)   Points and Authorities;
      20        vi) Citations; and
      21       vii) Supporting Briefs,
      22    e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
      23       encouraged
      24       Accompanying Documents
      25       Each document acompanying a single pleading must be electronically filed as a separate
      26       digital PDF document,
      27    g) Multiple Documents
      28       Multiple documents relating to one case can be uploaded hr one envelope transaction.
                                                           4
                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 23 of 86 Page ID #:23




                                                                                                   20194EN•014-09



            b) Writs and Abstracts
      2        Writs and Abstracts must be submitted as a separate electronic envelope.
      3    1) Sealed Documents
      4        If and when ajudicial officer orders documents to be filed under seal, those documents must be
      5        Med electronically (unless exempted under paragraph 4); the burden of accurately designating
      6        the documents as settled at the thus of electsonic submission is the submitting party's
      7        responsibility.
      8    j) Redaction
      9        Pursuant to California Rules of Court, rule 1.201,1t is the submitting party's responsibility to
      10       redact confidential information (such as using initials for names of minors. using the last four
      11       digits of a social security number, and using the year for date of birth) so that the information
      12       shall not be publicly displayed.
      13 7) ELECTRONIC FLING SCHEDULE
     14    a) Filed Date
     15        1) Any document received electronically by the court between 12:00 am and II:59:59 pm
     16           shall be deemed to have been effectively filed on that court day if accepted for filing. Any
     -17           document received electronically on a non-court day, is deemed to have been effectively
     18            filed on the nut court day if accepted. (California Rules of Court, rule 2.253(bX6); Code
     19           Civ. Proc. § 1010.6(b)(3).)
     20        II) Notwithstanding any other provision of this order, If a digital document is not filed in due
     21           course because of: (1) an interrupdan in service; (2) a transmission error that is not the
     22           fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
     23           order, either on its own motion or by noticed motion submitted with n declaration for Court
     24           consideration. that the document be deemed filed and/or that the documeat's filing date
     25           conform to the attempted transmission date.
     26 8) EX PARTE APPLICATIONS
     27    a) Ex parte applications and all documents in support thereof must be electronically filed no later
     28        than 1000 a.m. the court day before the ex parte hearing.

                          FIRST AMENDED (MINERAL ORDER RE MANDATORY ELECTRONIC mew FOR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 24 of 86 Page ID #:24




                                                                                                   2012431a4-014430


             b) Any written opposition to an ex parts application must be electronically filed by Et:30 a.m. the
       2         day of the ex pasta hearing. A printed courtesy copy of any opposition to an ex pane
       3         application must be provided to the court the rholy of the ex paste hearing.
       4 9) PRINTED COURTESY COPIES
       5     a) For any filing electronically filed two or fewer days before the hearing. a courtesy copy must
       6         be delivered to the courtroom by 4:30 p.m. the same business day the document is Wed. If
       7         the noting is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
       a         by 10:00 a.m. the next business day.
       9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
      10         electronic submission) is required for the following documents:
      11         1)    Any printed document required pursuant to a Standing or General Order;
      12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
      13               pages or MOM;
      14               Pleadings and motions that include points and authorities;
      15        iv)    Demurrers;
      16               Anti.SLAPP filings. pursuant to Code of Civil Procedure section 425.16;
      17        vi)    Motions for Summary Judgment/Adjudication; and
      18        vii)   Motions to Compel Further Discovery.
      19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
      20         additional documents. Courtroom specific courtesy copy guidelines can be found at
      21         www.lacourt.oig on the Civil wt bpage under "Courtroom Information."
      22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY PILED DOCUMENTS
      23     a) FM and costs associated with electronic filing must be waived for any litigant who has
      24         received a fee waiver. (California Rules of Court, rules 2.253(b)0, 2.258(b). Code Civ. Proc. §
      25    ,    1010.6(dX2).)
      26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
      27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2252A may be
      28         electronically filed in any authorized action or proceeding.
                                                             6
                            FIRST AMENDED GENERAL ORDER RE MANDATCtRY ELECTRONIC MUM FOWCIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 25 of 86 Page ID #:25




                                                                                                     2019-GEN.014-00



       1   1) SIGNATURES ON ELECTRONIC FILING
       2      For purposes of this General Order, all electronic Min must be in compliance with California
       3      Rules of Cow, rule 2.257. Ttds General Order applies to documents filed within the Civil
       4      Division of the Las Angeles County Superior Court.
       S
       6          This First Amended General Order supersedes any previous order related to electronic filing,
       7   and is effective immediately, and Is to remain In effect until otherwise ordered by the Civil
       8   Supervising Judge and/or Presiding Judge.
       9
      10 DATED: May 3,2019
                                          ova
      11                                                                C BRAZIL
                                                                Presiding Judge
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                            FIRST AMENDED GENERAL ORDER REMANDATORY ELECTRONIC RUNGMR CIVIL
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 26 of 86 Page ID #:26




                                    VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

                                      The Early Organizational Meeting Stipulation, Discovery
                                    Resolution Stipulation, and Mottos* in Limbos Stipulation are
            tOrgaiwCanteleibeends
            casersiLosAmdist        vokmbity ettputationSentered Into by the patties. The parries
                                    may enter Into one, two, or ell three of the stipulations;
                                    however, they may not alter they atipulatlone Si written,
                                    because the Court wants to ensure uniformity of application.
            Lae       Coutig -
            esiMissaislon           These stipulations are meant to encourage cooperalion
            Laisibserean
                                    between the parties and to assist In resolving !Wei in ri
            graft stilecue
                       Cuderand
            enpirmodtaparileette    manner that promotes economic case resolution and judicial
                                    eiMcIency.
                   a„ vtex22           The foliewing orgenizelione endorse the goat of
            csasmataeiratis
            Assadeloaellositmoica   promoting efficiency In litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    end with the cowl to iaktyreschra Issues in their cases.

                                    *Los Angeles County Bar Association Utigation Section*
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            Iftlearefeanzal
                                             • Les Angeles County Bar Association
                                              Labor and Employment Law Section*
            atm16/84/4
            624141/8114/1Limy=         *Consumer Attorneys Association of Los Angeles*

                                            *Southern California Defense Counsel*

                                            *Association of Business Trial Lawyers*
           Ceiliniellsoloyiesst
           tavavasittantstrie
                                        *California Employment Lawyers Association*

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Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 27 of 86 Page ID #:27




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                     AreMURT OF CALIFORNIA. COUNTY OF LOS ANGELES

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                                                                                       CAVIMMANA4
                       STIPULATION. DISCOVERY RESOLUTION

             Tills stipulation In Intended to provides fast and informal resolution of discovery issues
             through Waited paperwork and an informal conference with the Court to aid In the
             resolution of the tame .
              The parties ;wee Mob
             1. Prior to the discovery cskoff in this action, no discovery molten shall be flied or heard unless
                the moving party flat makes a written request for an Informal Discovery Conference pursuant
                to the terms of this :stipulation.
             2. At the Infernal Discovery Conference the Court will consider the dispute presented by parties
                and determine whether It can be resolved informally. Nothing set forth herein will preclude a
                pwty from melting a record at the conclusion of an Informal Discovery Conference, either
                orally twin writing.
             3. Following a.reasonabte and good Nth attempt al an Infernal resolution of each issue to be
                presented, a party may request an informal Discovery Conference pursuant In the follovring
                procedures:
                     a. The party requesting the InformalDiscovery Conference with
                        1.     file a Request for Informal Discovery Conference with the clerk's office an the
                               epproved Ione (copy attached) and deliver courtesy, conformed copy to the
                               assigned department.
                       IL      Include a Met summary of the dispute and specify the reliefrequested; and
                      W.       Serve the opposing party pursuant to any authorized or agreed method of service
                               that ensures that the opposing party receives the Request for Informal Discovery
                               Conference no later than Pre next court day following the leg.
                     b. Any Answer to a Request for informal Discovery Conference must:
                       L       Also bellied on the approved tam (WAY atischad):

                    P. Include a brief summary of why the requested teller should be denied;
           "TIESesiesve
            reros%niC ins         STIPULATION —DISCOVERY RESOLUTION
                                                                                                            Page Ida
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 28 of 86 Page ID #:28




                                                                                  castmostoi




                            De Ned wilhin two (2) 60114 days of receipt of the Request and
                     Iv.    Be served on the opposing party pursuant to any authodaed or agreed upon
                            method of eervicelhal ensures that the opposing party receives the Answer no
                            later then the next court day following the thing.
                C. No other pleadings. Including but notlimited to exhibits. diadr-r7tione, or attachments.
                    be accepted.
                d. N the Court has not granted or dented the Request for informed Discovery Conference
                   vein ten (10) days following the tiling of the Request, then It shall be deemed to have
                   been denied. lithe Court acts on the Request, the parties wins be rstat3d 'Mater the
                   Request for Informal Discovery Conference has been granted or dented and, If granted,
                   the date and time of the talcum, Dlacovary Conference, which must be within twenty (20)
                   days of the filing of the Requeetfor Informal Discovery Conference.
                a. If the conference to not held within twenty (20) clays of the Sing of the Request for
                   blond Diszovery Conference, unless extended by agreement of the parties and the
                   Court, than the Request for the Informal Discovery Conference than be deemed to have
                   been denied at that time.
            4. If(a) the Corot has dented a-conference or (b) one of thriller* deadlines above bet expired
               without the Court having acted or (c) the informal Discovery Conference is concluded without
               resolving the dispute, then a party may tile a discovery motion to address unrosolved Issues.
            5. The' parties hereby further agree that the time for making a, motion to compel or other
               discovery motion is lolled from the date of (ling of the Request far informal DisaavarY
               Conference until (a) the request is denied or deemed dented or (b) twenty (20) days after the
               Nina of the Request for Infonnal Discovery Conference: whichever Is earlier, unless extended
               by ter of the COOL
                Ms the understandingend intent of the parties that lids stipulation then, for each discovery
                dispute to which it applies, consblute a veiling memorializing a 'apeciffo later date to which
                the ParPounding (or demanding or requesting) party and the responding party have !weed in
                wiling,' within the meaning of Coda Civil Procedure sections 2030300(4 2031.320(c), end
                2033.200(4
            6. Nallati he     will prelude any party from epptying ea pails for appropriate rebel, Including
               an order shortening time for a motion to be heard concerning discovery.
            7. My party may ten:Ikeda this stipulation by giving twenty-one (21) days notice of Intent to
               etathe stipulation.
            8. References to 'days' mean (*fender days, 'Mass otherwise noted. If the date for perfonetng
               any act pursuant to this stipulation faits on a Saturday, Sunday ar Court holiday. then the Urns
               for performing that act shall be extended to the next Court day.


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Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 29 of 86 Page ID #:29




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            The lulfuwFng parties stipulate:


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            Date:
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            Date:
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            LASCIVrand                      STIPULATION — DISCOVERY RESOLUTION                      Pap301
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                  STIPULATION — EARLY ORGANIZATIONAL MEETING
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               lids egpulettm to Intended tionneurega cooperation among the mese at en mule stage In
               the Stipa= end to owlet the partite In efident ease resoluffon.
               The paten agree that
               1. The parties commit to conduct -en IOW conference                   at eta teleconference or via
                  eideneniderienee) within 15 days from the date this sepu eon to signed, fo tikes: and considot
                  Witlethgr it" WIN enneement an the taming

                   a. Are motions to challenge the pleadings necessem? II the bStia can be reached by
                      amendment its or right, or If the Cant would allow leave to emend. eenld an emended'
                      conneeket resolve most or ell of the homes a dementmight cliterwlee rats? If so. the pales
                      wee to wroth through pleading Issues so that a dormant need only seise Issues they ceval
                      resolve. Is theIssue that the defendant seeks to veleta etntreable to intiolutten cn dennerer,
                      would same CCITST type of mean be preferable? Could a                      targeted embargo of
                      docamorate or Informetion by any patty cam anuncertaintyIn thepi              ?
                   b. B at mutual =Mingle of documents at the tore of the lidgellon. (Far exempt% In ars
                      employment rest the employment MO* persormel No eel decumenb nstating to the
                      conduct In question cared be considered tone In a personal. Wary wee, an Melded or
                      poke man, medics! records, and repair or maintenance'records could be considered
                      tenet
                   c Exchange ofnames and contact!Menden ofwitnesses;
                   d. My Insurance agreement that may be available to seedy part or all of a Ardmore, or to
                      Went* (*reimburse for payments made to satisfy aNdarnant
                   a. Exchange of any other InformatIon that mlght be helpful In facilitate
                      or issolueon of ft .r caseIn a manner that pmsetves objections or privileges by agreement
                                                                                                      d
                   f. Controlling Issues of taw that, If resolved eady, wit promote seliclency .and economy In other
                      phases of the case. Also, when and how such Issues can be presented to the Court
                   ge Whether ar when the case should be scheduled with a sefflement officer, what &covey or
                      court ni ig on legalissues is reasonablyrequired to make settlement at     one meaningful,
                      and whether the parties wish to use:reeling (edge or a private mediator or other options as
              mavenMertrerie
              udeneewerroitin           STIPULATION EARLY ORGANIZATIONAL MEETING
              ForOpionallha                                                                                 Pvid2
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 31 of 86 Page ID #:31




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                      discussed to the `ikrternelive Dispute Resolution (AM) Iracurnstion Package° served with the
                      Ctrilptalit

                      Computation of dernagau, Including dements, net prtvilogad or rrte       P ^L1front dtdstoma.
                      Vtich such computation is based;
                   1. Whether the caza Es SOW* for the E./pi:Med Jury Trk:t procedures (see information at
                      pierrioceisettaro under 'Cie and then 1.710ff 'Game infamelferf),
             2.       The time for a defartellstg party to respond to a complaint OT CMSZ-0014.042b4, t be seiauted
                                                    for the compleint, and                             fox tits WW2-
                     complaint, Whtth Is comprised of the 30 dap to respond unelcIr Govenaneni &age-ameme
                     a:ri the 30 days permitted by Cede of CM Procedure andel 10S4Cah good cattm baQt
                     been found by the Civil Super /Nilo Mee due to the case etzmagenizol benarrie welded by
                     this Sifputallen. A copy of the Gemmel Order cen be found at mayiksgidgm under
                     tick on 'Geriasud itatumoSaas, Nen dick 04 4 traunleryMani Litigegan St4suislfse.
            3.       The parties veDi prepare a Met lepedilded Vokit Stem Report Plarvialzi tcs tallial Codatonse
                     and Early Orgarstrationel Meeting ellndden. and if desired, a proposed order nrornarbeng
                     results of their moat and confer end edvIsIng ttssq Cotet of wry way it may anti the parties'
                     eland conduct or razes:ilia* of theme. rtc partial shall attach the Joint Statue Report to
                     the Cosa Managamord Conference statement, and fie the documents vin the an
                     elisternani Is due.
            4.       References to 'days' mean Wandsr days, urLi s otivowitz noted. if the dote for performing
                     my ant pursuant to t€tis ottpuLetion faile on n Seturdey, Sunday sr Court holiday, than the time
                     for performing that act shall be estervded to the nest Court day
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Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 32 of 86 Page ID #:32




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          SUPERIOR COURT OF CAUFORN/A, COUNTY OF LOS ANGELES
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                             INFORMAL DISCOVERY               COSH RI
                    (pursuant to Um Chrovaly gosolotior     apen of ins
               1. This des:tenant rem to:
              •         8      Request for Informal Discovery Continence
                               Answer to Request for Informal Clammy Conforonea
                a. Delitikidi for Cowart to decide WI Rest:                  (i-mi                   It nissaar          torsrmo etrio d
                    It3Rtatcutl)
               3. Muerte for Court to indti Informal Discovery Conference:                                      012.• Kati 7i7 c0443911
                    &vs ftrzzntaanvorcxif4ovgzl).
               4. For g Request for InfonruA DIscovory Conform-Km, brigliv describe the neiure of the
                    discovery dispute, Including the how end logs] arguments at lime. For ail Malt= 10
                               for InfiNggial 011;Covcno Cr:gramme, be" dm:Mho why tfic, Court should deny
                    itto3 requested diecovaryo triciuding fire facts rind legal erismaante at Issue.




               LACIV C34                         INFORMAL DISCOVERY CONFERENCE
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               ForOamta3try                (pure ant to the IlLmoveni Resoiolcm Stiputagen of the parties)
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 33 of 86 Page ID #:33




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                      DURT OF CALIFORNIA, COUNTY OF LOS ANGELES




                    STIPULATION AND ORDER—MOTIONS INUMINE


              This stipulation Is Intended to provide fast and Informal resolution of evidentiary
              issues through diligent efforts to define and discuss such issues and limit paperworic.

              The parties agree that:
              1. At least       days before the final status conference, each party    provide other
                 parties with a list containing a one paragraph explanation of each proposed motion in
                 umbra. Each one paragraph explanation must identify the substance of a single proposed
                 motion In thrift and the grounds for the proposed motion.
              2. The parties thereafter will meet and confer, either in parson or via teleconference or
                 vldeoconterence, concerning all proposed motions in amine. In that meet and confer. the
                 parties wig determine:
                  a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                     stipulate, they may file a stipulation and proposed order with the Court.
                 b. Whether any of the proposed motions can be briefed and submitted by means of a
                    shod joint statement of issues. For each motion which can be addressed by a short
                    joke statement of issues, a short joint statement of issues must be tiled with the Court
                    10 days prior to the final 13b31118 conference. Each side's portion of the short joint
                    statement of issues may not exceed three pages. The parties will meet and confer to
                    agree on a date and manner for exchanging the parties' respective portions of the
                    short joint statement of Issues and the pecan for tiling the short joint statement of
                    issues.
             3. Ali proposed motions In thine that are not either the subject of a stipulation or briefed via
                a Mort joint statement ofIssues will be briefed and filed In accordance with the California
                Rules of Court and the Loa Angeles Superior Court Rules.



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             txscrioptendornr        STIPULATION AND ORDER — MOTIONS IN UMINE
             FacOptionatthat                                                                          Pitga I oft
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 34 of 86 Page ID #:34




             The foilawing parties stipulate:


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                       PPR OR PRitir NAME                   INCICIRNEY FOR D2P224DAKII
             Oat.:

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                       (APR OR MORT VMS)                    (ATIOfodY FOR DEFEKIANI)


                       PPG OR PRIMA/04                  (ATTORNEY FOR                      1


                       tr      prolit NsimE)            larfORNEY FOR
             Date

                       (MR ORPAK NAME)                  (Arfonner FOR

             THE COURT SO ORDERS,
               Dale:
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Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 35 of 86 Page ID #:35




                    Superior Court of California, County of Los Angeles



                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                 INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 €ROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What Is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   e Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   © Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR Is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    e  Costs: if the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    9  No Public Trial: ADR does not provide a public trial or a decision by a Judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial, if the parties have lawyers, they will negotiate for their clients.

    2. Mediation: in mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                   o want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  o want a public trial and want a Judge or jury to decide the outcome.
                   9   lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 03/21
   For Mandatory Use
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                                 How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations to
              request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                   •   ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                       (949) 863-980O
                   •   JAMS, Inc. Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                   O   Mediation Center of Los Angeles Program Manager info@mediationLA.org
                       (833) 476-9145

       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by vldeoconference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourt.or_g/ADR .Res. List

       NOTE: The Civil iViediation Vendor Resource !1st program does not accept fa mill/ law, probate or small
       claims cases.

           la, Los Angeles County DisputeResolutionPrograms
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact Sheet-23October19-Current-as-of-October-2019-1,Rdt

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the Internet.

       3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
       argumentsto the person who decides the outcome. In "binding" arbitration, the arbitrator'sdecision is
       final; there is no right to trial. In "nonbinding" arbitration, anyparty can request a trial after the
       arbitrator'sdecision. For more information about arbitration, visit
       http://www.courts.ca.gov/programs-adehtm

       4. Mandatory SettlementConferences (MSC): MSCs are ordered by the Court and are often held close
       to the trial date or on the day of trial. The parties and their attorneys meet with a Judge or settlement
       officer who does not make a decision but who instead assists the parties in evaluating the strengths and
       weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
       programs for civil cases, visit http://ww w. la court.ore/divisionicivii/C10047. a spx

       Los Angeles Superior Court ADR website: http://www.lacourt.orddivision/civii/C10109.aspx
       For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.ht m


 LASC CIV 271Rev. 03/21
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                                                                                                     Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                               FILED
 Stanley Mosk Courthouse                                                                            Stiller& Cour. CLI ROtiiia
                                                                                                      Co:in     L61,
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                                        021
                   NOTICE OF CASE ASSIGNMENT                                                                       L                   OiCaul
                                                                                                               R. Rift&
                          UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

   Your case is assigned for all purposes to the judicial officer indicated below.   21STCV14442

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                    ASSIGNED JUDGE                          DEPT        ROOM
    V    Monica Bachner                     71




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 04/16/2021                                                          By R. Perez                                          _, Deputy Clerk
                 (Date)

LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendar* Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 clays.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 clays of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 clays after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters tnay be heard and resolved at this conference. At least five clays before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial. Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative. .

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an. Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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Electronically FILED by Superior Court of California. County of Los Angeles on 04/16/2021 10:52 AM Sherri R. Carter. Executive Officer/Clerk of Court. by R. Perez,Deputy Clerk
                                                                                       21STCV14442
                                          Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Monica Bachner




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                             4
                                   Attorney for Plaintiff,
                             5
                                   ADAM ALBARRAN
                             6

                             7                       SUPERIOR COURT OF CALIFORNIA- COUNTY OF LOS ANGELES

                             8                                CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
                             9

                           10       ADAM ALBARRAN;                                                        Case No.         21 ST CV 1 4442

                           11                                             Plaintiff,                      COMPLAINT FOR DAMAGES FOR
                                                                                                          DISABILITY DISCRIMINATION AND
                           12       VS.                                                                   RETALIATION IN EMPLOYMENT AND
                           13                                                                             RELATED CLAIMS
                                    US FOODS, INC. dba U.S. FOODSERVICE,
                           14       INC.; and DOES 1 to 10,                                               Unlimited Jurisdiction
                                                                                                          July Trial Demanded
                           15                                             Defendants.
                                                                                                          Judge: To be assigned
                           16                                                                             Dept To be assigned
                           17
                                                                                                          Complaint Filed:
                           18                                                                             Trial Date: None Set

                           19

                           20

                           21

                           22

                           23

                           24

                           25

                           26      COMES NOW PLAINITFF ADAM ALBARRAN ("Plaintiff') and for his causes of action against
                                   Defendant US FOODS, INC. dba U.S. FOODSERVICE, INC. ("Employer"), and DOES 1-10,
                           27
                                   alleges as follows:
                           28

                                                                                                     -1-
                                                                                                  COMPLAINT
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                                                               I.
      1
                                          SUBJECT MATTER JURISDICTION
      2
                     1.      This action is brought pursuant to California Govt. Code sections § 12940; §
      3    12945.2; Labor Code § 1102.5; California tort law and Civ. Code § 3294.
      4              2.      Plaintiff has timely exhausted Plaintiff's administrative remedies with respect to the
      5    named defendant(s). True and correct copies of Plaintiff's administrative complaints) to, and

      6    Right-To-Sue Notice(s) from, the California Department of Fair Employment and is attached hereto
           as Exhibit 1 and incorporated herein.
      7
                     3.      This Court has subject matter jurisdiction over the causes of action alleged in this
      8
           complaint.
      9
                                                              II.
      10                               PERSONAL JURISDICTION AND VENUE
      11             4.      At all relevant times, Plaintiff ADAM ALBARRAN is and was an individual
      12   residing in the County of Los Angeles, State of California.
                     5.      At all relevant times, Defendant US FOODS, INC., is and was a corporation
      13
           organized under the laws of the State of Delaware, authorized to do and doing business in the
      14
           County of Los Angeles, State of California.
      15
                     6.      The violations of law described in this complaint have been committed within the
      16   County of Los Angeles, State of California.
      17                7.   Pursuant to section 393 of the California Code of Civil Procedure, the County of
      18   Los Angeles is a proper and legal venue for this case.

      19             8.      The true names and capacities of the Defendants named herein as DOES 1 to 10,
           inclusive, whether individual, proprietorship, partnership, corporate, associate, alter ego, or
      20
           otherwise, are unknown to Plaintiff who therefore sues such Defendants by fictitious names
      21
           pursuant to California Code of Civil Procedure Section 474. Plaintiff will amend this complaint to
      22   show such true names and capacities when they have been determined.
      23                9.   The wrongful conduct of Employer set forth in the General Allegations and various
      24   Causes of Action proximately caused Plaintiff to suffer damages, injuries, loss and/or harm,

      25   including but not limited to physical, mental and emotional injuries and distress, pain and suffering,
           lost wages and benefits and health care expenses, and other general, special and statutory damages
      26
           in amounts to be proven.
      27
      28

                                                             -2-
                                                          COMPLAINT
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      1
                                              GENERAL ALLEGATIONS
      2
                   10.    Plaintiff ADAM ALBARRAN (hereafter, "Plaintiff.") was employed by Defendant
      3
          US FOODS, INC. dba U.S. FOODSERVICE, INC. ("Employer") from approximately October 4,
      4   1989 through Plaintiffs termination on or about September 18, 2020. Plaintiff worked at
      5   Employer's location at 15155 Northam St, La Mirada, CA, 90638. Plaintiff's job title was "Utility

      6   Order Selector." Plaintiff worked under managers and supervisors including Enrique Ramirez
          ("Supr. Ramirez"). Additionally, Plaintiff worked under Manager Richard Starke ("Mgr. Starke")
      7
          who, on information and belief, supervised Enrique Ramirez.
      8
                   11.    At all relevant times, Plaintiff performed his duties competently and satisfactorily,
      9
          and Employer's stated reasons for termination of Plaintiff's employment were pretexts for unlawful
     10   discrimination and retaliation.
     11            12.    In or around September 2019, Defendant Employer made changes to the way that
     12   employees were assigned their work stations for the day. Based on the time that Plaintiff started his
          work day, Plaintiff started working in the ice cream and frozen foods section. This was the first time
     13
          that Plaintiff worked in the ice cream and frozen foods section_ In the ice cream and frozen foods
     14
          section, employees view "bills" in order to determine which frozen food orders they needed to
     15
          collect for a specific route that a truck would take that day. Based on the bill order, employees
     16   determined which bin size they would need to contain all of the frozen food items on that route.
     17   Although a bill might state that there are, for example, 15 frozen items for a particular order, that
     18   order could contain only 4 ice cream items. The rest of the frozen items came in throughout the rest

     19   of the day and employees would search for those items in the warehouse. Employees were required
          to keep track of their "delay time" or the time that an employee took between finding the ice cream
     20
          order and the next order.
     21
                   13.    In or about mid-March 2020, Defendant Employer started merging multiple frozen
     22   food bills together. Instead of showing only one route, the bill would display two routes. Plaintiff
     23   needed to adjust his strategy in order to minimize his time searching for orders and maximize how
     24   many items he could fit on his pallet jack. This change resulted in increased times to fulfill orders,

     25   and increased "delay" times. Additionally, prior to this change, the "bills" would specify which
          pallet an item would need to go on. However, after the change, the bill would not indicate which
     26
          pallet the items would go on.
     27
                   14.     In or about Mid-March 2020, Plaintiff's supervisors and other employees, including
     28
          but not limited to Supr. Ramirez, foreman David Mott ("Foreman Mott") and Supr. Starke, started
                                                           -3-
                                                        COMPLAINT
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           to make comments comparing Plaintiffs order selecting speed to the speed of other employees.
      1
           These comments, in words or substance, included "This employee would have been done already,
      2
           he is way faster than you:" Plaintiff's supervisors compared his speed to Warren Pescador
      3
           ("Employee Pescador"). On information and belief, Employee Pescador had worked in ice cream
      4    for approximately 6-7 years. On information and belief, Employee Pescador is in his early thirties.
      5    Plaintiff's supervisors made these comments approximately once per week through the end of

      6    Plaintiff's employment with Defendant Employer.
                       15.   On information and belief, supervisors at Defendant Employer did not criticize
      7
           other Order Selectors with limited experience in their department, including but not limited to
      8
           Gilbert Huerta ("Employee Huerta"). On information and belief, Employee Huerta is in his mid-
           thirties.
      10               16.   On or around March 8, 2020, Plaintiff purchased insulated freezer boots that he
      11   required for work. Employees who purchased insulated freezer boots received reimbursement in the
      12   amount of $100 once per year.

      13               17.   In or around mid-April 2020, Supr. Ramirez called Plaintiff into his office. Supr.
           Ramirez told Plaintiff that he would need to "watch his delay times" because Supr. Ramirez's
      14
           supervisors were "on him" about his employees' excessive delay times. Plaintiff explained that with
      15
           the change that Defendant Employer made in February 2020, it took a longer time to locate the
      16   items and fulfill orders. Plaintiff explained that employees had to follow the sequence specified by
      17   the bill, as the items were frozen. Additionally, with the change, Plaintiff started to run out of bags
      18   and dry ice quicker than before the change. Supr. Ramirez replied, in words or substance, "Do I

      19   need to have a supervisor follow you around?" Plaintiff replied that he actually wanted a supervisor
           to follow him around so that he could better be trained in the ice cream and frozen foods
      20
           department. Additionally, Plaintiff reminded Supr. Ramirez that he had not yet been trained in
      21
           receiving. However, Supr. Ramirez never followed up with Plaintiff regarding the training.
      22               18.   Starting in or around mid-April 2020 and through Plaintiff's employment with US
      23   Foods, Defendant US Foods often made excuses in order to not train Plaintiff in receiving,
      24   including the excuse that Defendant Employer was short-staffed or that there was no time to train

      25   Plaintiff. Based on Plaintiffs seniority at US Foods, Plaintiff should have been trained prior to
           employees with less seniority. This meant that during Plaintiffs night shift, when items arrived to
      26
           the warehouse, they were not "received" until the next morning. However, in September 2019, after
      27
           Plaintiff began working in the ice cream and frozen section, Defendant Employer began training
      28
           other employees in receiving, including Steve Blankenship ("Employee Blankenship") and
                                                             .4-
                                                          COMPLAINT
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          Employee Pescador. On information and belief, Employee Pescador had only been a utility order
      1
          selector for a month, and had worked at US Foods for 6 to 7 years. On information and belief,
      2
          employee Blankenship is in his late twenties.
      3
                   19.    In or around May, Plaintiff followed up with Supr. Ramirez regarding the status of
      4   the work boot reimbursement request Plaintiff made in March 2020. Typically, employees receive
      S   disbursements within 30 days. Supr. Ramirez stated that they were still working on the

      6   reimbursement due to delays associated with COVID-19 and that they would get back to him.
                   20.    Approximately one week later, Plaintiff followed up with Supr. Starke regarding the
      7
          status of the work boot reimbursement request. Supr. Starke replied that he would need to follow
      8
          up with Supr. Ramirez. When Plaintiff again followed up with Supr. Ramirez, Supr. Ramirez stated
          that US Foods was still processing his request.
     10            21.    On or about June 10, 2020, when Plaintiff arrived to work, he noticed a large block
     11   of dry ice on the ground and dry ice covering the back corner of the warehouse floor. The block of
     12   dry ice was approximately 4 by 7 feet. The block of dry ice presented a tripping hazard to Plaintiff
          and other employees working in the warehouse. Plaintiff reported the dry ice block to Supr.
     13
          Ramirez via text message at approximately 6:00 PM. Supr. Ramirez stated that maintenance was on
     14
          their way. Maintenance did not clean up the dry ice until approximately 8:00 PM.
     15
                   22.    In or around mid-June 2020, Supr. Ramirez again brought Plaintiff into his office.
     16   Supr. Ramirez told Plaintiff he needed. to "watch his delay times" because Supr. Ramirez's
     17   supervisors were still "getting onto him" about Supr. Ramirez's employees' delay times. Supr.
     18   Ramirez stated that Plaintiff's delay times "stuck out like a sore thumb." Plaintiff again explained

     19   that with the change that Defendant Employer made in February 2020, it took a longer time to
          locate the items and fulfill orders. Plaintiff again explained that employees had to follow the
     20
          sequence specified by the bill, as the items were frozen. Additionally, with the change, Plaintiff
     21
          started to run out of bags and dry ice quicker than before the change. Supr. Ramirez replied, again,
     22   in words or substance, "Do I need to have a supervisor follow you around?" Plaintiff replied that he
     23   actually wanted a supervisor to follow him around so that he could better be trained in the ice cream
     24   and frozen foods department. Supr. Ramirez never followed up with Plaintiff regarding the training.

     25            23.    On or about June 28, 2020, when Plaintiff arrived to work, he noticed small chunks
          of dry ice covering the ground in the back corner of the warehouse. This presented a tripping and
     26
          slipping hazard to Plaintiff and other employees in the warehouse_ Plaintiff reported the dry ice
     27
          pieces to Supr. Ramirez via text message at 6:29 p.m. Supr. Ramirez responded that Plaintiff should
     28
          contact management to take care of the ice. Over an hour later, the dry ice was still on the floor of
                                                            -5-
                                                       COMPLAINT
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           the warehouse, so Plaintiff again texted Supr. Ramirez. Supr. Ramirez responded that the
      1
           maintenance employee was on his way. Maintenance did not clean up the dry ice until
      2
           approximately 8:00 PM.
      3             24.     During the period of Plaintiffs employiriPnt with Employer, Plaintiff had, and/or
      4    was perceived by Employer as having and/or likely to have disabilities in the future. These
      5    disabilities included but are not limited to susceptibility to COVID-19, and related physical

      6    symptoms, including shortness of breath, greatly restricted mobility and severe weakness in the
           affected parts of the body, and other related symptoms, conditions and limitations. Plaintiff's
      7
           disabilities did and/or were regarded by Employer as interfering with and limiting Plaintiff's major
      8
           life activities, including ability to work.
      9
                    25.     On or about July 23, 2020, Plaintiff's partner, who is a nurse, was tested for
      10   COVID-19 as part of a routine testing protocol. On or about July 24, 2020, Plaintiff's partner
      11   received notice that she tested positive for COVID-19. Because Plaintiff and his partner live
      12   together, Plaintiff reasonably assumed that he was exposed to COVID-19 and was likely infected

      13   with the virus. As soon as Plaintiff received. notice that his partner tested positive for COVID-19,
           Plaintiff called Supr. Starke to inform him that Plaintiff was exposed to COVID-19. Plaintiff asked
      14
           Supr. Starke if he needed to take any steps with Defendant Employer as to secure medical leave.
      15
           Supr. Starke informed Plaintiff that he needed to call Defendant Employer's 1-800 COVID-19
      16   number. When Plaintiff called the phone number, he was told that once his partner was able to
      17   return to work, he would need to wait an additional 10 days prior to returning to work. Plaintiff was
      18   not able to return to work until August 23, 2020.

      19             26.    On information and belief, in or around June 2020, Supr. Starke left work for
           approximately a month due to COVID-19.
      20
                     27.    On information and belief, in or around mid-August 2020, Supr. Ramirez left work
      21
           for approximately three weeks due to COVID-19.
      22             28.    On or about August 23, 2020, when Plaintiff returned to work, he noticed trash all
      23   over the floor of the warehouse. This presented a tripping and slipping hazard to Plaintiff and other
      24   employees. This also made Plaintiffs job more difficult, because he had less room to navigate the

      25   warehouse floor. Plaintiff reported the trash to Supr. Ramirez via text message. Supr Ramirez did
           not respond. On information and belief, the trash was not cleaned up until on or about August 25,
      26
           2020.
      27
                     29.    On or about August 30, 2020, Supr. Starke brought Plaintiff into his office. Supr.
      28
            Starke told Plaintiff that Plaintiff had been "dishonest" with the delay times that Plaintiff had
                                                            -6-
                                                         COMPLAINT
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           reported. Shop Steward Felipe Osorio ("Steward Osorio") was present for this conversation.
      1
           Plaintiff explained that as soon as he finished putting down the ice cream, his delay time started..
      2
           Plaintiff told Supr. Starke that he wanted to be sure that he was correctly tracking his delay times,
      3
           and asked for clarification regarding the directions for tracking the delay times. Supr. Starke did not
      4    respond. Supr. Starke informed Plaintiff that he would be suspended from August 30, 2020 to
      5    September 18, 2020 as he was under investigation. During this meeting, Plaintiff noticed that his

      6    reimbursement request from March 2020 was still sitting on Supr. Ramirez's desk.
                    30.    On or about September 3, 2020, Plaintiff submitted a written grievance to his union
      7
           representative Adam (last name unknown) ("Rep. Adam"). Plaintiff also submitted the written
      8
           grievance to Steward Osorio. The written grievance stated that Defendant decided to suspend
      9
           Plaintiff because there were discrepancies on his delay sheet; and when he asked management how
      10   he should record his delays, management could not answer his question. Plaintiff also asked the
     11    company to reinstate him.
      12            31.    On or about September 16, 2020, Plaintiff met with Supr. Starke, Steward Osorio,
           Union Representative Adam Ortiz ("Rep. Ortiz") and Supervisor Adrian LNU ("Last Name
     13
           Unknown") ("Supr. Adrian") as a result of the grievance he submitted. The supervisors asked
      14
           Plaintiff questions about his job duties, how he writes his delays, the cause of his delays, and related
      15
           questions. Plaintiff again explained that as soon as he fmished putting down the ice cream, his delay
     16    time started. Plaintiff also detailed the way that the changes made in March 2020 had slowed him
     17    down, and that he had not received any training on how to minimize his time with the changes that
     18    were made to the bills. Plaintiff expressed to the supervisors that he wanted to return to his job, and

      19   asked if there was anything he could do to return to his job. The supervisors stated that they would
           take the information provided into consideration and let Plaintiff know their decision. Shortly after
     20
           the meeting, Plaintiff spoke with Steward Osorio. Steward Osorio informed Plaintiff that he was
     21
           under the impression that Defendant Employer intended to bring Plaintiff back to work, as Supr.
     22    Ramirez stated that it was "just an investigation."
     23             32.    On or about September 18, 2020, Plaintiff was terminated via phone call with Rep.
     24    Adam. Rep. Adam did not have any information regarding the reason that Plaintiff was terminated.

      25   The same day, Plaintiff went to US Foods to pick up his last check and the items that were in his
           locker. Supr. Ramirez stated that he would need to come back later to retrieve his items, but that
     26
           Supr. Ramirez would inform Plaintiff when he would be able to retrieve his items. Supr. Ramirez
      27
           never contacted Plaintiff about retrieving his items.
     28
                    33.    On or about October 15, 2020, Plaintiff had another meeting with Supr. Starke,


                                                         COMPLAINT
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           Steward Osorio, Rep. Ortiz, and Supr. Adrian. During this meeting, the supervisors asked Plaintiff
      1
           if there was any other information that he wanted to provide them. Plaintiff replied that he could not
      2
           think of any other information that he could provide. The supervisors then said that they would get
      3
           back to Plaintiff with their decision. Later that week, Rep. Adam stated that he would remain
      4    terminated.
      5             34.    In or around October 2020, Steward Osorio informed Plaintiff that Defendant US

      6    Foods did not know where his personal items were.
                    35.    To date, Plaintiff has not received reimbursement from his work boot purchase in
      7
           March 2020.
      8
                    36.    To date, Plaintiff has not received his personal belongings from his work locker at
      9
           Defendant Employer. These items include work boots, valued at $153.29, Milwaukee batteries,
      10   valued at $310, a sweatshirt, valued at $45, and an undershirt, valued at $30.
      11            37.    On information and belief, employee Alex Cervion ("Employee Cervion") was also
      12   suspended based on an investigation into his delay time. On information and belief, Employee
           Cervion is in his late thirties. On information and belief, Employee Cervion did not make
      13
           complaints of an unsafe work environment nor did Employee Cervion take a medical leave. On
      14
           information and belief, Employee Cervion was brought back to his position after his suspension
      15
           with a "letter" stating that instead of termination, Defendant Employer would give Employee
      16   Cervion one last chance.
      17            38.    On information and belief, employee Rodolfo Almazan ("Employee Almazan") was
      18   also suspended based on an investigation into his delay time. On information and belief, Employee

      19   Almazan is in his early thirties. On information and belief, Employee Almazan did not make
           complaints of an unsafe work environment nor did Employee Almazan take a medical leave. On
      20
           information and belief, Employee Almazan was brought back to his position after his suspension
      21
           with a "letter" stating that instead of termination, Defendant Employer would give Employee
      22   Cervion one last chance.
      23             39.    On information and belief, employee David Barragon ("Employee Barragon") was
      24    also suspended based on an investigation into his delay time. On information and belief, Employee

      25   Barragon is in his mid-twenties. On information and belief, Employee Barragon did not make
           complaints of an unsafe work environment nor did Employee Barragon take a medical leave. On
      26
           information and belief, Employee Barragon was brought back to his position after his suspension
      27
           without any "letters."
      28
                     40.    Employer was substantially motivated to and did discriminate and retaliate against
                                                             -8-
                                                         COMPLAINT
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          Plaintiff based upon Plaintiff's actual and perceived disabilities and likelihood of becoming
      1
          disabled and Plaintiff's attempts to and exercise of Plaintiff's right to accommodations, and
      2
          retaliated against Plaintiffs opposition to disability discrimination and. OSHA violations.
      3
                   41.     Employer's discriminatory adverse employment actions against Plaintiff included
      4   excessive, unfair and/or false criticisms, removal of responsibilities, exclusion from
      5   communications that would have assisted Plaintiff in performing Plaintiff's duties, less desirable

      6   schedule and pay, reduction in Plaintiffs opportunity for success and advancement, assignment to
          more menial, difficult and/or dirty tasks, failure and refusal to stop the harassment and
      7
          discrimination, denial of training and otherwise discriminating and retaliating against Plaintiff in the
      8
          terms and conditions and existence of Plaintiffs employment, and finally, on or about September
      9
          18, 2020, terminating, and thereafter refusing to reinstate, Plaintiff's employment.
     10            42.     Employer's supervisors and managers knew and had reason to know Plaintiff
     11   opposed Employer's discriminatory and retaliatory adverse employment actions. Employer
     12   retaliated against Plaintiff for opposing harassment, discrimination and retaliation by subjecting
          Plaintiff to additional adverse employment actions.
     13
                    43.    On information and belief, Employer replaced Plaintiff with a less qualified
     14
          individual not in Plaintiffs protected class.
     15
                    44.    On information and belief, Employer harassed, discriminated and/or retaliated
     16   against other employees based on the same protected class as Plaintiff.
     17             45.    On information and belief, Employer did not terminate or discipline other
     18   employees outside Plaintiffs protected class as severely for the same purported deficiencies for

     19   which Employer terminated and/or disciplined Plaintiff.
                    46.    On information and belief Defendants had policies and practices of depriving and
     20
          retaliating against Plaintiff and others for attempts to exercise their rights to accommodations and
     21
          disability rights.
     22             47.    As the proximate result of Defendants' wrongful conduct, Plaintiff has and will
     23   suffer past and future lost wages and benefits in an amount to be determined by the trier of fact, but
     24   estimated to be no less than $200,000. As the proximate result of Defendants' wrongful conduct,

     25   Plaintiff has and will suffer emotional distress damages in an amount to be determined in the
          discretion of the trier of fact, but estimated to be no less than $400,000.
     26
                    48.    Supr. Starke, Supr. Ramirez, and Supr. Adrian are managing agents of Employer
     27
          because on information and belief they set policies for Employer, including by determining what to
     28
          enforce, had responsibility for compliance, had the power to make highly influential hiring and
                                                             -9-
                                                          COMPLAINT
Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 48 of 86 Page ID #:48




           firing recommendations, and manage, supervise, evaluate and discipline other managers, and enter
      1
           into binding agreements on behalf of Employer. They participated in and/or ratified the
      2
           discriminatory, retaliatory and unlawful termination of Plaintiff.
      3                                                      IV.
      4                                           CAUSES OF ACTION
      5                                        FIRST CAUSE OF ACTION

      6               WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICIES
                                                 COMMON LAW TORT
      7
                                              By Plaintiff against Employer
      8
                    49.    Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
      9
           above that precede the title block for the "First Cause of Action."
      10            50.    Employer discharged Plaintiff in violation of important and well-established public
      11   policies, set forth in various statutes and Constitutional provisions including but not limited to
      12   Government Code § 12940, see §§ 12920 and 12926 (employment discrimination and retaliation);.
           Cal. Coast. Art. I, § 8 (employment discrimination); Govt. Code §§ 12945.2 (medical leave
      13
           discrimination and retaliation).
      14
                    51.    Employer's wrongful conduct proximately caused Plaintiff to suffer general and
      15
           special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
      16   Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
      17   under Govt. Code § 12965.
      18            52.    Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not

      19    to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
      20
           damages, including under Civil Code § 3294, in an amount to be proven.
      21
                                              SECOND CAUSE OF ACTION
      22                                   MEDICAL LEAVE RETALIATION
      23                                      GOVT. CODE 412945.2 (CFRA)
      24                                       By Plaintiff against Employer

      25           53.     Plaintiff realleges and incorporates in this cause of action all numbered
           Paragraphs above that precede the title block for the "First Cause of Action."
      26
                   54.     Plaintiff is a member of a class protected from disability discrimination, those having
      27
           or perceived to have current or likely to have future disabilities, including but not limited to
      28
            COVID-19 and increased risks from COV1D-19, and related conditions and symptoms requiring
                                                            -10-
                                                         COMPLAINT
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          medical disability leave for flareups and medical evaluation and treatment and recuperation from
      1
          treatment, sometimes during working hours.
      2
                  55.    On information and belief, Employer has more than 50 employees within 75 miles of
      3
          where Plaintiff worked and Plaintiff had worked for Employer for over 12 months and had worked
      4   over 1250 hours in the 12 months preceding Plaintiffs use of medical leave. Plaintiff had a serious
      5   medical condition requiring that she periodically take time of work.

      6           56.    Employer took adverse employment actions against Plaintiff in retaliation for
          Plaintiffs attempts to and exercise of Plaintiffs rights to medical leave under Govt. Code § 12945.2,
      7
          and in retaliation for Plaintiffs opposition to Employer's interference with Plaintiff's rights.
      8
          Employer's retaliation violated Govt. Code § 12945.2, including subsection (1).
      9
                  57.    Employer's wrongful conduct proximately caused Plaintiff to suffer general and
     10   special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
     11   Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
     12   under Govt. Code § 12965.

     13
                  58.     Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
          to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
     14
          officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
     15
          damages, including under Civil Code § 3294, in an amount to be proven.
     16                                       THIRD CAUSE OF ACTION
     17                                 MEDICAL LEAVE DISCRIMINATION
     18                                       Govt. Code 412945.2 (CFRA)

     19                                       By Plaintiff against Employer
                  59.     Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
     20
          above that precede the title block for the "First Cause of Action."
     21
                  60.    Plaintiff is a member of a class protected from disability discrimination, those having
     22   or perceived to have current or likely to have future disabilities, including but not limited to
     23   C0VID-19 and increased risks from C0VID-19, and related conditions and symptoms requiring
     24   medical disability leave for flareups and medical evaluation and treatment and recuperation from

     25   treatment, sometimes during working hours.
                  61.     On information and belief, Employer has more than 50 employees within 75 miles of
     26
          where Plaintiff worked and Plaintiff had worked for Employer for over 12 months and had worked
     27
          over 1250 hours in the 12 months preceding Plaintiffs use of medical leave.
     28
                  62.     On information and belief, Employer discouraged Plaintiff from taking and denied
                                                            -11-
                                                         COMPLAINT
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           Plaintiff medical leave from work in violation of Govt. Code § 12945.2, in part by terminating
       I
           Plaintiffs employment to prevent Plaintiff from taking medical leave from work in the future.
           Employer's wrongful conduct proximately caused Plaintiff to suffer general and special damages in
      3
           an amount to be proven. Plaintiff has been required to hire attorneys, including Geoffrey Lyon, of
      4    Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including under Govt. Code §
      5    12965.

      6             61    Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
      7    to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
       8
           damages, including under Civil Code § 3294, in an amount to be proven.
       9
                                             FOURTH CAUSE OF .ACTION
      10         RETALIATION FOR REOUESTING AND USING ACCOMMODATIONS FOR
      11                                              DISABILITIES
      12                                        GOVT. CODE § 12940(m)
                                      By Plaintiff against Employer and Defendant
      13
                    64.   Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
      14
           above that precede the title block for the "First Cause of Action."
      15
                    65.   Plaintiff is a member of a class protected from disability discrimination, those having
      16   or perceived to have current or likely to have future disabilities, including but not limited to
      17   COVID-19 and increased risks from COVID-19, and related conditions and symptoms requiring
      18   medical disability leave for flareups and medical evaluation and treatment and recuperation from

      19   treatment, sometimes during working hours.
                    66.   Employer retaliated against Plaintiff for requesting and using accommodations for
      20
           his disabilities, including time off work for flareups in symptoms and treatment, and some efforts at
      21
           self-accommodation. Employer's conduct violated Govt. Code § 12940, including subsection (m).
      22    Employer's wrongful conduct proximately caused Plaintiff to suffer general and special damages in
      23   an amount to be proven. Plaintiff has been required to hire attorneys, including Geoffrey Lyon, of
      24   Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including under Govt. Code §

      25   12965.
                    67.    Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
      26
           to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
      27
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
      28   damages, including under Civil Code § 3294, in an amount to be proven.
                                                            -12-
                                                         COMPLAINT
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                                              F11, 1II CAUSE OF ACTION
      1
            FAILURE TO ENGAGE IN A TIMELY, GOOD FAITH, INTERACTIVE PROCESS TO
      2
                       DETERMINE REASONABLE ACCOMMODATION FOR DISABILITY
      3
                                                  Govt. Code 4 12940(n)
      4                                      By Plaintiff against Employer
      5          68.     Plaintiff realleges and incorporates in this cause of action all numbered paragraphs

      6   above that precede the title block for the "First Cause of Action.".
                 69.     Plaintiff is a member of a class protected from disability discrimination, those having
      7
          or perceived to have current or likely to have future disabilities, including but not limited to
      8
          COVID-19 and increased risks from COVID-19, and related conditions and symptoms requiring
      9
          medical disability leave for flareups and medical evaluation and treatment and recuperation from
     10   treatment, sometimes during working hours.
     11         70.       Employer failed to engage in a timely, good faith, interactive process with Plaintiff
     12   to determine effective reasonable accommodations for Plaintiff's disabilities. Employer discouraged
          Plaintiff from taking further leave. This violated Govt. Code § 12940, including subsection (n).
     13
          Employer's wrongful conduct proximately caused Plaintiff to suffer general and-
     14
          special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
     15
          Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
     16   under Govt. Code § 12965.
     17         71.       Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
     18   to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its

     19   officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
          damages, including under Civil Code § 3294, in an amount to be proven.
     20
                                              SIXTH CAUSE OF ACTION
     21
                         FAILURE TO REASONABLY ACCOMMODATE DISABILITIES
     22                                          Govt. Code 412940(m)
     23                                       By Plaintiff against Employer
     24           72.    Plaintiff realleges and incorporates in this cause of action all numbered paragraphs

     25   above that precede the title block for the "First Cause of Action."
                  73.    Plaintiff is a member of a class protected from disability discrimination, those having
     26
          or perceived to have current or likely to have future disabilities, including but not limited to
     27
          COVID-19 and increased risks from COVID-19, and related conditions and symptoms requiring
     28   medical disability leave for flareups and medical evaluation and treatment and recuperation from
                                                           -13-
                                                        COMPLAINT
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           treatment, sometimes during working hours.
      1
                  74.      Employer failed to make reasonable accommodations for the disabilities of Plaintiff.
      2
           Employer tried to intimidate Plaintiff to prevent Plaintiff from requesting further accommodations.
      3
           This violated Govt. Code § 12940, including subsection (m).
      4           75.     Employer's wrongful conduct proximately caused Plaintiff to suffer general and
      5    special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including

      6    Geoffrey Lyon of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
           under Govt. Code § 12965.
      7
                  76.      Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
      8
           to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
      9
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
     10    damages, including under Civil Code § 3294, in an amount to be proven.
     11                                     SEVENTH CAUSE OF ACTION
      12                                   DISABILITY DISCRIMINATION
                                                   Govt. Cede 412940(a)
     13
                                              By Plaintiff against Employer
     14
                   77.    Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
      15
           above that precede the title block for the "First Cause of Action."
      16           78.    Plaintiff is a member of a class protected from disability discrimination, those having
      17   or perceived to have current or likely to have future disabilities, including but not limited to
      18   COVID-19 and increased risks from COVID-19, and related conditions and symptoms requiring

      19   medical disability leave for flareups and medical evaluation and treatment and recuperation from
           treatment, sometimes during working hours.
      20
                   79.     Employer took adverse employment actions against Plaintiff, including termination,
      21
           that were substantially motivated by Plaintiffs protected class. This violated Govt. Code 12940,
      22   including subsection (a).
      23           80.     Employer's wrongful conduct proximately caused Plaintiff to suffer general, special
      24   and statutory damages in an amount to be proven. Plaintiff has been required to hire attorney

      25   Geoffrey Lyon of Lyon Law, PC and is entitled to recover reasonable attorney's fees.
                   81.     Pursuant to Civil Code § 3294, Employer's wrongful conduct was malicious,
      26
           oppressive, fraudulent, despicable and not to be tolerated by civilized society and was known,
      27
           authorized, ratified and/or perpetrated by its managing agents, entitling Plaintiff to an award of
      28
           punitive and exemplary damages in an amount to be proven.
                                                            -14-
                                                         COMPLAINT
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                                                EIGHTH CAUSE OF ACTION
      1
                        DISCRIMINATION BASED ON AGE - DISPARATE TREATMENT
      2
                                                      Govt. Code & 12940
      3                                         By Plaintiff against Employer
      4           82.        Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
      5   above that precede the title block for the "First Cause of Action."

      6   Employer took adverse employment actions against Plaintiff substantially motivated by Plaintiffs
          age, 51. Employer's discrimination and disparate treatment violated Govt. Code 12940, including
      7
          subsection (a).
      8
                  81         Employer's wrongful conduct proximately caused Plaintiff to suffer general and
      9
          special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
     10   Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
          under Govt. Code § 12965.
     12           84.        Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
          to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
     13
          officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
     14
          damages, including under Civil Code § 3294, in an amount to be proven.
     15
                                                NINTH CAUSE OF ACTION
     16     RETALIATION FOR OPPOSING VIOLATIONS OF FEHA (Govt. Code § 12900, et seq.)
     17                                             Govt. Code 6 12940(h)
     18                                     •   By Plaintiff against Employer

     19           89.        Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
          above that precede the title block for the "First Cause of Action."
     20
                  90.        Employer took adverse employment actions against Plaintiff substantially motivated
     21
          by, and in retaliation for, Plaintiffs opposition to Employer's violation of FEHA, Govt. Code §§
     22   12900-12996, including Govt. Code §§ 12940 (discrimination), 12945.2 (family/medical leave); see
     23   Govt. Code 12920, 12926. Employer's retaliation violated Govt Code § 12940, including
     24   subsection (11).

     25           91.        Employer's wrongful conduct proximately caused Plaintiff to suffer general and
          special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
     26
          Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
     27
          under Govt. Code § 12965.
     28
                  92.        Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
                                                             -15-
                                                          COMPLAINT
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           to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
      1
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
      2
           damages, including under Civil Code § 3294, in an amount to be proven.
      3                                        TENTH CAUSE OF ACTION
      4          FAILURE TO PREVENT AND STOP HARASSMENT, DISCRIMINATION AND
      5                                                RETALIATION
      6                                           Govt. Code § 12940( ), (k)
                                               By Plaintiff against Employer
       7
                  93.      Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
       8
           above that precede the title block for the "First Cause of Action."
       9
                  94.      Employer knew or reasonably should have known ofthe harassment, discrimination
      10   and retaliation against Plaintiff. Employer failed to take all reasonable steps to prevent these from
      11   occurring to Plaintiff, including but not limited to failing to take complaints seriously, failing to
      12   timely and thoroughly investigate and document evidence of harassment, discrimination and
           retaliation, failing to report the results of its investigation to Plaintiff and failing to take timely and
      13
           appropriate corrective and preventive action to stop the harassment, discrimination and retaliation.
      14
           This violated Govt. Code § 12940, including subsections (j) and (k).
      15
                   95.     Employer's wrongful conduct proximately caused Plaintiff to suffer general and
      16   special damages in an amount to be proven. Plaintiff has been required to hire attorneys, including
      17   Geoffrey Lyon, of Lyon Law PC, and is entitled to recover reasonable attorneys' fees, including
      18   under Govt. Code § 12965.

      19           96.     Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
           to be tolerated by civilized society, and was known, authorized, ratified and/or perpetrated by its
      20
           officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
      21
           damages, including under Civil Code § 3294, in an amount to be proven.
      22                                    ELEVENTH CAUSE OF ACTION
      23                                   WHISTLEBLOWER RETALIATION
      24                                       Labor Code §§ 1102.5 & 1102.6

      25                                        By Plaintiff against Employer
                   97.     Plaintiff realleges and incorporates in this cause of action all numbered paragraphs
      26
           above that precede the title block for the "First Cause of Action?"
      27
                   98.     Plaintiff reported to supervisors, and refused to participate in, Employer's activities
      28
           that Plaintiff reasonably believed, would result in a violation of, or noncompliance with, state or
                                                              -16-
                                                           COMPLAINT
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          federal regulations, statutes or Constitutional provisions, including but not limited to Cal. Govt.
      1
          Code 12940, 12945.2, Cal. Labor Code,-and workplace safety laws including Cal-OSHA.
      2
          Employer was substantially motivated to, and did, take adverse employment actions against
      3
          Plaintiff in retaliation for Plaintiffs protected activities, in violation of Labor Code §§ 1102.5 &
      4   1102.6.
      5           99.     Employer's wrongful conduct proximately caused Plaintiff to suffer general and
      6   special damages in an amount to be proven.
                  100.    Employer's wrongful conduct was malicious, oppressive, fraudulent, despicable, not
      7
          to be tolerated by civilized society, and was perpetrated, known, authorized and/or ratified by its
      8
          officers, directors or managing agents, entitling Plaintiff to an award of punitive and exemplary
      9
          damages, including under Civil Code § 3294, in an amount to be proven.
     10
     11
     12

     13
                                                             V.
     14
                                                  PRAYER FOR RELIEF
     15
                          WHEREFORE Plaintiff prays for relief on Plaintiffs causes of action as more
     16   specifically set forth in the individual causes of action:
     17                  1.   For special compensatory damages, including past and future lost wages and .
     18                       medical expenses, in an amount to be proven, but estimated to be no less than

     19                       $200,000;
                         2.   For general compensatory damages, including for past and future emotional
     20
                              distress, in an amount to be proven, but estimated to be no less than $400,000;
     21
                         3.   For punitive and exemplary damages, including under Civil Code § 3294, in an
     22
                              amount to be proven;
     23                  4.   For statutory damages and penalties, including under the Labor Code, including §
     24                       1102.5;

     25                  5.   For injunctive relief; •
                         6.   For prejudgment interest;
     26
                         7.   For costs of suit, including under CCP 1033.5, in an amount to be proven;
     27
                         8.   For reasonable attorneys' fees,.including litigation assistant fees, including under
     28
                              Govt. Code § 12965, in an amount to be proven;
                                                             -17-
                                                          COMPLAINT
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                      9.   For such other and further relief as the court deems just and proper.
      1
           DATED: April 9, 2021                      LYON LAW PC
      2
      3

                                                      By: Geoffrey Lyon, Esq
      5                                               Attorney for Plaintiff,
                                                      ADAM ALBARRAN
      6

      7

      8

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                                                        -18-
                                                     COMPLAINT
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                                                            VI.
      1
                                             DEMAND FOR JURY TRIAL
      2
                         Plaintiff demands a trial by jury of all issues in this action triable by a jury, including
      3
          but not limited to issues of liability and damages_
      4   DATED: April 9, 2021                   LYON LAW PC
      5
      6
      7                                          By: Geoffrey C. Lyon
                                                 Attorney for Plaintiff,
      8
                                                 ADAM ALBARRAN
      9
     10
     11

     12
     13
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     28

                                                           -19-
                                                        COMPLAINT
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                             EXHIBIT 1
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             STATE OF CALIFORNIA', Business. Consumer Seryloes and Housing Agency                GAVIN NEWSOM. GOVERNOR

             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                 KEVIN KISH, DIRECTOR

             2218 Kausen Drive, Suite 1001Elk Grove I CA I 95758
             (800) 884-1684 (Voice) I (800) 700-2320 (TTY) ] California's Relay Service al 711
             hapitenvw.dfeh.ca.nov I Email: conlactcenier@dfeh.ca.gpv


      April 8, 2021

      Geoffrey Lyon
      3605 Long Beach Blvd, Ste 311
      Long Beach, California 90807

      RE:    Notice to Complainant's Attorney
             DFEH Matter Number. 202104-13159707
             Right to Sue: Albarran I US FOODS, INC. dba U.S. Foodservice, INC.

      Dear Geoffrey Lyon:

      Attached is a copy of your complaint of discrimination filed with the Department of Fair
      Employment and Housing (DFEH) pursuant to the California Fair Employment and
      Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
      Notice of Case Closure and Right to Sue.

      Pursuant to Government Code section 12962, DFEH will not serve these
      documents on the employer. You must serve the complaint separately, to all named
      respondents, Please refer to the attached Notice of Case Closure and Right to Sue for
      information regarding filing a private lawsuit in the State of California. A courtesy "Notice
      of Filing of Discrimination Complaint" is attached for your convenience.

      Be advised that the DFEH does not review or edit the complaint form to ensure that it
      meets procedural or statutory requirements.

      Sincerely,


      Department of Fair Employment and Housing
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               STATE OF CALIFORNIA IIAmfness_ Consumer Services and K0tISInia Agency               GAVIN NEWSOM. GOVERNOR

               DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                 KEVIN KISH, DIRECTOR

    tg         2218 Kamen Drive. Suite 100 I Et* Glove I CA 195758
               (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
               http://www.clfeh.ca.00v I Email: contact.center@dfeh.oa.gov


         April 8, 2021

         RE:   Notice of Filing of Discrimination Complaint
               DFEH Matter Number. 202104-13159707
               Right to Sue: Albarran / US FOODS, INC. dba U.S. Foodservice, INC.

         To All Respondent(s):

         Enclosed is a copy of a complaint of discrimination that has been filed with the
         Department of Fair Employment and Housing (DFEH) in accordance with Government
         Code section 12960. This constitutes service of the complaint pursuant to Government
         Code section 12962. The complainant has requested an authorization to file a lawsuit. A
         copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

         This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
         program. Under this program, established under Government Code section 12945.21,
         a small employer with 5 -19 employees, charged with violation of the California Family
         Rights Act, Government Code section 12945.2, has the right to participate in DFEH's
         free voluntary mediation service. Under this program both the employee requesting an
         immediate right to sue and the employer charged with the violation may request that all
         parties participate in DFEH's free voluntary mediation service. A request for mediation
         must be made within 30 days of receipt of the Notice of Case Closure and Right to Sue.
         If mediation is requested, the employee is prohibited from filing a civil action until
         mediation is complete. The employee's statute of limitations to file a civil action,
         including for all related claims not arising under section 12945.2, is tolled from DFEH's
         receipt of a mediation request under section 12945.21 until mediation is complete. To
         request DFEH Small Employer Family Leave Mediation, email
         DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
         the Right to Sue notice.

         Please refer to the attached complaint for a list of all respondent(s) and their contact
         information.

         No response to DFEH is requested.or required.

         Sincerely,


         Department of Fair Employment and Housing
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             STATE OF CALIFORNIA I Bushes& Comma 8011eCeS and Katsina Arsengv                   aAVIN NEINS0IVI, GOVFRNO8

             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING .                                               KEVIN K1SH, DIRECTOR
             2218 Kausen Drive. Suite 100 I Elk Grove I CA 195758
             (800) 884-1684 (Voice) I (800)700-232D (TTY) I California's Relay Service at 711
             http://unvw.dleh.ce.gov I Email: conlact.center@dreh.ca.gov


      April 8, 2021

      Adam Albarran
      9202 1/2 Artesia Blvd.
      Bellflower, California 90706

      RE:    Notice of Case Closure and Right to Sue
             DFEH Matter Number: 202104-13159707
             Right to Sue: Albarran / US FOODS, INC. dba U.S. Foodservice, INC.

      Dear Adam Albarran:

      This letter informs you that the above-referenced complaint filed with the Department of
      Fair Employment and Housing (DFEH) has been closed effective April 8, 2021 because
      an immediate Right to Sue notice was requested_

      This letter is also your Right to Sue notice. According to Government Code section
      12965, subdivision (b), a civil action may be brought under the provisions of the Fair
      Employment and Housing Act against the person, employer, labor organization or
      employment agency named in the above-referenced complaint. The civil action must be
      filed within one year from the date of this letter.

      This matter may qualify for DFEH's Small Employer Family Leave Mediation pilot
      program. Under this program, established under Government Code section 12945.21, a
      small employer with 5 -19 employees, charged with violation of the California Family
      Rights Act, Government Code section 129452, has the right to participate in DFEH's
      free voluntary mediation service. Under this program both the employee requesting an
      immediate right to sue and the employer charged with the violation may request that all
      parties participate in DFEH's free voluntary mediation service. A request for mediation
      must be submitted to the DFEH within 30 days of receipt of the Notice of Case Closure
      and Right to Sue. If mediation is requested, the employee is prohibited from filing a civil
      action until mediation is complete. The employee's statute of limitations to file a civil
      action, including for all related claims not arising under section 12945.2, is tolled from
      DFEH's receipt of a mediation request under section 12945.21 until mediation is
      complete. To request DFEH Small Employer Family Leave Mediation, email
      DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number indicated on
      the Right to Sue notice.

      To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
      Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
      DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
      whichever is earlier.

      Sincerely,
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            DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                            KEVIN Klai, DIRECTOR
            2218 Kausen Drive, Suite 1001 Elk Grove I CA I 95758
            (800) 884-1684 (Voice) I (800) 700-2320 (171)1 California's Relay Service al 711
            http://vAvw.ctieh.ca.gov I Email: conlact.center@dfeb ca gov




      Department of Fair Employment and Housing
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    1                     COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                BEFORE THE STATE OF CALIFORNIA
    2                   DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                        Under the California Fair Employment and Housing Act
    3
                                    (Gov. Code, § 12900 et seq.)
    4
        In the Matter of the Complaint of
    5    Adam Albarran                                                   DFEH No. 202104-13159707

    6                                 Complainant,
        VS.
    7

    8    US FOODS, INC. dba U.S. Foodservice, INC.
         15155 Northam St
    9    La Mirada, California 90638

   10                                  Respondents

   11

   12
        1. Respondent US FOODS, INC. dba U.S. Foodservice, INC. is an employer US FOODS,
   13   INC. dba U.S. Foodservice, INC. subject to suit under the California Fair Employment and
        Housing Act (FEHA) (Gov. Code, § 12900 et seq.).
   14

  15
        2. Complainant Adam Albarran, resides in the City of Bellflower, State of California.
   16

  17 3. Complainant alleges that on or about October 15, 2020, respondent took the
     following adverse actions:
  18
     Complainant was harassed because of complainant's race, ancestry, national origin
  19
     (includes language restrictions), genetic information or characteristic, disability (physical or
  20 mental), medical condition (cancer or genetic characteristic), age (40 and over), other,
     association with a member of a protected class, family care or medical leave (cfra).
  21
     Complainant was discriminated against because of complainant's race, ancestry, color,
  22 genetic information or characteristic, disability (physical or mental), medical condition
     (cancer or genetic characteristic), age (40 and over), other, association with a member of a
  23 protected class, family care or medical leave (cfra) and as a result of the discrimination was
     terminated, laid off, denied hire or promotion, reprimanded, denied equal pay, suspended,
  24 demoted, asked impermissible non-job-related questions, denied any employment benefit or
     privilege, denied reasonable accommodation for a disability, denied employer paid health
  25 care while on pregnancy disability leave, other, denied work opportunities or assignments,
     denied or forced to transfer, denied family care or medical leave (cfra).
  26

   27                                                 -1-
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   1
      Complainant experienced retaliation because complainant reported or resisted any font
    2 of discrimination or harassment, requested or used a disability-related accommodation,
      participated as a witness in a discrimination or harassment complaint, requested or used
    3 family care or medical leave (cfra) and as a result was terminated, denied hire or promotion,
      reprimanded, denied equal pay, suspended, demoted, asked impermissible non-job-related
    4 questions, denied any employment benefit or privilege, denied reasonable accommodation
      for a disability, denied employer paid health care while on pregnancy disability leave, other,
    5 denied work opportunities or assignments, denied or forced to transfer, denied family care or
      medical leave (cfra).
    6

    7
        Additional Complaint Details: Plaintiff ADAM ALBARRAN (hereafter, "Plaintiff.") was
    8   employed by Defendant
        US FOODS, INC. dba U.S. FOODSERVICE, INC. ("Employer') from approximately October
    9   4, 1989 through Plaintiffs termination on or about September 18, 2020. Plaintiff worked at
        Employer's location at 15155 Northam St., La Mirada, CA, 90638. Plaintiffs job title was
   10   "Utility Order Selector." Plaintiff worked under managers and supervisors including Enrique
        Ramirez ("Supr. Ramirez"). Additionally, Plaintiff worked under Manager Richard Starke
   11   ("Mgr. Starke") who, on information and belief, supervised Enrique Ramirez.
                  At all relevant times, Plaintiff performed his duties competently and satisfactorily, •
   12   and Employer's stated reasons for termination'of Plaintiffs employment were pretexts for
        unlawful discrimination and retaliation.
   13             In or around September 2019, Defendant Employer made changes to the way that
          employees were assigned their work stations for the day. Based on the time that Plaintiff
   14   started his work day, Plaintiff started working in the ice cream and frozen foods section. This
        was the first time that Plaintiff worked in the ice cream and frozen foods section. In the ice
   15
        cream and frozen foods section, employees view "bills" in order to determine which frozen
   16   food orders they needed to collect for a specific route that a truck would take that day.
        Based on the bill order, employees determined which bin size they would need to contain all
   17   of the frozen food items on that route. Although a bill might state that there are, for example,
        15 frozen items for a particular order, that order could contain only 4 ice cream items. The
   18   rest of the frozen items came in throughout the rest of the day and employees would search
        for those items in the warehouse. Employees were required to keep track of their "delay
   19   time" or the time that an employee took between finding the ice .cream order and the next
        order.
   20             In or about mid-March 2020, Defendant Employer started merging multiple frozen
        food bills together. Instead of showing only one route, the bill would display two routes.
   21   Plaintiff needed to adjust his strategy in order to minimize his time searching for orders and
        maximize how many items he could fit on his pallet jack. This change resulted in increased
   22   times to fulfill orders, and increased "delay" times. Additionally, prior to this change, the
        "bills" would specify which pallet an item would need to go on. However, after the change,
   23    the bill would not indicate which pallet the items would go on.
                  In or about Mid-March 2020, Plaintiffs supervisors and other employees, including
   24
          but not limited to Supr. Ramirez, foreman David Mott ("Foreman Mott") and Supr. Starke,
   25   started to make comments comparing Plaintiffs order selecting speed to the speed of other
         employees. These comments, in words or substance, included 'This employee would have
   26

   27                                                   -2-
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         1 been done already, he is way faster than you." Plaintiff's supervisors compared his speed to
           Warren Pescador ("Employee Pescador"). On information and belief, Employee Pescador
         2 had worked in ice cream for approximately 6-7 years. On information and belief, Employee
           Pescador is in his early thirties. Plaintiffs supervisors made these comments approximately
         3 once per week through the end of Plaintiffs employment with Defendant Employer.
                    On information and belief, supervisors at Defendant Employer did not criticize
         4 other Order Selectors with limited experience in their department, including but not limited to
           Gilbert Huerta ("Employee Huerta"). On information and belief, Employee Huerta is in his
         5 mid-thirties.
                    On or around March 8, 2020, Plaintiff purchased insulated freezer boots that he
         6
           required for work. Employees who purchased insulated freezer boots received
         7 reimbursement in the amount of $100 once per year.
                   In or around mid-April 2020, Supr. Ramirez called Plaintiff into his office. Supr.
         8 Ramirez    told Plaintiff that he would need to "watch his delay times" because Supr. Ramirez's
           supervisors were "on him" about his employees' excessive delay times. Plaintiff explained
         9 that with the change that Defendant Employer made in February 2020, it took a longer time
           to locate the items and fulfill orders. Plaintiff explained that employees had to follow the
        10 sequence specified by the bill, as the items were frozen. Additionally, with the change,
           Plaintiff started to run out of bags and dry ice quicker than before the change. Supr. Ramirez
        11 replied, in words or substance, "Do I need to have a supervisor follow you around?" Plaintiff
           replied that he actually wanted a supervisor to follow him around so that he could better be
        12 trained in the ice cream and frozen foods department. Additionally, Plaintiff reminded Supr.
           Ramirez that he had not yet been trained in receiving. However, Supr. Ramirez never
        13 followed up with Plaintiff regarding the training.
                    Starting in or around mid-April 2020 and through Plaintiff's employment with US
        14 Foods, Defendant US Foods often made excuses in order to not train Plaintiff in receiving,
           including the excuse that Defendant Employer was short-staffed or that there was no time to
        15
           train Plaintiff. Based on Plaintiff's seniority at US Foods, Plaintiff should have been trained
        16 prior to employees with less seniority. This meant that during Plaintiff's night shift, when
           items arrived to the warehouse, they were not "received" until the next morning. However, in
        17 September 2019, after Plaintiff began working in the ice cream and frozen section,
           Defendant Employer began training other employees in receiving, including Steve
        18 Blankenship-("Employee Blankenship") and Employee Pescador. On information and belief,
           Employee Pescador had only been a utility order selector for a month, and had worked at
        19 US Foods for 6 to 7 years. On information and belief, employee Blankenship is in his late
           twenties.
        20          In or around May, Plaintiff followed up with Supr. Ramirez regarding the status of
           the work boot reimbursement request Plaintiff made in March 2020. Typically, employees
        21 receive disbursements within 30 days. Supr. Ramirez stated that they were still working on
           the reimbursement due to delays associated with COVID-19 and that they would get back to
        22 him.
                    Approximately one week later, Plaintiff followed up with Supr. Starke regarding the
        23 status of the work boot reimbursement request. Supr. Starke replied
                                                                                      that he would need to
           follow up with Supr. Ramirez. When Plaintiff again followed up with Supr. Ramirez, Supr.
        24
           Ramirez stated that US Foods was still processing his request.
        25          On or about June 10, 2020, when Plaintiff arrived to work, he noticed a large block
3.4

         26

         27                                               -3-
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    1 of dry ice on the ground and dry ice covering the back corner of the warehouse floor. The
       block of dry ice was approximately 4 by 7 feet. The block of dry ice presented a tripping
    2 hazard to Plaintiff and other employees working in the warehouse. Plaintiff reported the dry
       ice block to Supr. Ramirez via text message at approximately 6:00 PM. Supr. Ramirez
    3 stated that maintenance was on their way. Maintenance did not clean up the dry ice until
       approximately 8:00 PM.
    4           In or around mid-June 2020, Supr. Ramirez again brought Plaintiff into his office.
         Supr. Ramirez told Plaintiff he needed to "watch his delay times" because Supr. Ramirez's
    5 supervisors were still "getting onto him" about Supr. Ramirez's employees' delay times.
       Supr. Ramirez stated that Plaintiffs delay times "stuck out like a sore thumb." Plaintiff again
    6
       explained that with the change that Defendant Employer made in February 2020, it took a
    7 longer time to locate the items and fulfill orders. Plaintiff again explained that employees had
        to follow the sequence specified by the bill, as the items were frozen. Additionally, with the
    8 change, Plaintiff started to run out of bags and dry ice quicker than before the change. Supr.
        Ramirez replied, again, in words or substance, "Do I need to have a supervisor follow you
    g around?" Plaintiff replied that he actually wanted a supervisor to follow him around so that
        he could better be trained in the ice cream and frozen foods department. Supr. Ramirez
   10 never followed up with Plaintiff regarding the training.
                 On or about June 28, 2020, when Plaintiff arrived to work, he noticed small chunks
   11 of dry ice covering the ground in the back corner of the warehouse. This presented a
        tripping and slipping hazard to Plaintiff and other employees in the warehouse. Plaintiff
   12 reported the dry ice pieces to Supr. Ramirez via text message at 6:29 p.m. Supr. Ramirez
        responded that Plaintiff should contact management to take care of the ice. Over an hour
   13 later, the dry ice was still on the floor of the warehouse, so Plaintiff again texted Supr.
        Ramirez. Supr. Ramirez responded that the maintenance employee was on his way.
   14 Maintenance did not clean up the dry ice until approximately 8:00 PM.
                 During the period of Plaintiffs employment with Employer, Plaintiff had, and/or
   15
         was perceived by Employer as having and/or likely to have disabilities in the future. These
   16 disabilities included but are not limited to susceptibility to COVID-19, and related physical
         symptoms, including shortness of breath, greatly restricted mobility and severe weakness in
   17 the affected parts of the body, and other related symptoms, conditions and limitations.
         Plaintiffs disabilities did and/or were regarded by Employer as interfering with and limiting
   18 Plaintiffs major life activities, including ability to work.
             _ On or about July 23, 2020, Plaintiffs partner, who is a nurse, was tested for
   19 COVED-19 as part of a routine testing protocol. On or about July 24, 2020, Plaintiffs partner
         received notice that she tested positive for COVID-19. Because Plaintiff and his partner live
   20 together, Plaintiff reasonably assumed that he was exposed to COVID-19 and was likely
         infected with the virus. As soon as Plaintiff received notice that his partner tested positive for
   21 COVID-19, Plaintiff called Supr. Starke to inform him that Plaintiff was exposed to COVID-
         19. Plaintiff asked Supr. Starke if he needed to take any steps with Defendant Employer as
   22 to secure medical leave. Supr. Starke informed Plaintiff that he needed to call Defendant
         Employers 1-B00 COVID-19 number. When Plaintiff called the phone number, he was told
   23 that once his partner was able to return to work, he would need to wait an additional 10 days
         prior to returning to work. Plaintiff was not able to return to work until August 23, 2020.
   24
                  On information and belief, in or around June 2020, Supr. Starke left work for
    25 approximately a month due to COVID-19.
                  On information and belief, in or around mid-August 2020, Supr. Ramirez left work
   26

   27                                                   -4-
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   1 for approximately three weeks due to COVID-19.
                On or about August 23, 2020, when Plaintiff returned to work, he noticed trash all
   2 over the floor of the warehouse. This presented a tripping and slipping hazard to Plaintiff
     and other employees. This also made Plaintiff's job more difficult, because he had less room
   3 to navigate the warehouse floor. Plaintiff reported the trash to Supr. Ramirez via text
     message. Supr. Ramirez did not respond. On information and belief, the trash was not
   4 cleaned up until on or about August 25, 2020.
                On or about August 30, 2020, Supr. Starke brought Plaintiff into his office. Supr.
   5 Starke told Plaintiff
                            that Plaintiff had been "dishonest" with the delay times that Plaintiff had
     reported. Shop Steward Felipe Osorio ("Steward Osorio") was present for this conversation.
   6
     Plaintiff explained that as soon as he finished puffing down the ice cream, his delay time
   7 started. Plaintiff told Supr. Starke that he wanted to be sure that he was correctly tracking
     his delay times, and asked for clarification regarding the directions for tracking the delay
   8 times. Supr. Starke did not respond. Supr. Starke informed Plaintiff that he would be
     suspended from August 30, 2020 to September 18, 2020 as he was under investigation.
   9 During this meeting, Plaintiff noticed that his reimbursement request from March 2020 was
     still sitting on Supr. Ramirez's desk.
  10            On or about September 3, 2020, Plaintiff submitted a written grievance to his union
      representative Adam (last name unknown) ("Rep. Adam"). Plaintiff also submitted the
  11 written grievance to Steward Osorio. The written grievance stated that Defendant decided to
     suspend Plaintiff because there were discrepancies on his delay sheet, and when he asked
  12 management how he should record his delays, management could not answer his question.
     Plaintiff also asked the company to reinstate him.
  13            On or about September 16, 2020, Plaintiff met with Supr. Starke, Steward Osorio,
     Union Representative Adam Ortiz ("Rep. Ortiz") and Supervisor Adrian LNU ("Last Name
  14 Unknown") ("Supr.
                           Adrian") as a result of the grievance he submitted. The supervisors asked
     Plaintiff questions about his job duties, how he writes his delays, the cause of his delays,
  15
     and related questions. Plaintiff again explained that as soon as he finished puffing down the
  16 ice  cream, his delay time started. Plaintiff also detailed the way that the changes made in
     March 2020 had slowed him down, and that he had not received any training on how to
  17 minimize his time with the changes that were made to the bills. Plaintiff expressed to the
     supervisors that he wanted to return to his job, and asked if there was anything he could do
  18 to return to his job. The supervisors stated that they would take the information provided into
     consideration and let Plaintiff know their decision. Shortly after the meeting, Plaintiff spoke
  19 with Steward Osorio. Steward Osorio informed Plaintiff that he was under the impression
     that Defendant Employer intended to bring Plaintiff back to work, as Supr. Ramirez stated
  20 that it was "just an investigation."
                On or about September 18, 2020, Plaintiff was terminated via phone call with Rep.
  21 Adam. Rep. Adam did not have any information regarding the reason that Plaintiff was
     terminated. The same day, Plaintiff went to US Foods to pick up his last check and the items
  22 that were in his locker. Supr. Ramirez stated that he would need to come back later
                                                                                               to
     retrieve his items, but that Supr. Ramirez would inform Plaintiff when he would be able to
  23 retrieve his items. Supr.
                                Ramirez never contacted Plaintiff about retrieving his items.
  24            On or about October  15, 2020, Plaintiff had another meeting with Supr. Starke,
     Steward Osorio, Rep. Ortiz, and Supr. Adrian. During this meeting, the supervisors asked
  25 Plaintiff if there was any other information that he wanted to provide them. Plaintiff replied
     that he could not think of any other information that he could provide. The supervisors then
  26

  27                                                 -5-
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    I    said that they would get back to Plaintiff with their decision. Later that week, Rep. Adam
         stated that he would remain terminated.
    2             in or around October 2020, Steward Osorio informed Plaintiff that Defendant US
         Foods did not know where his personal items were.
    3             To date, Plaintiff has not received reimbursement from his work boot purchase in
         March 2020.
    4             To date, Plaintiff has not received his personal belongings from his work locker at
         Defendant Employer. These items include work boots, valued at $153.29, Milwaukee
    5    batteries, valued at $310, a sweatshirt, valued at $45, and an undershirt, valued at $30.
                  On information and belief, employee Alex Cervion ("Employee Cervion") was also
    6    suspended based on an investigation into his delay time. On information and belief,
    7    Employee Cervion is in his late thirties. On information and belief, Employee Cervion did not
         make complaints of an unsafe work environment nor did Employee Cervion take a medical
    8    leave. On information and belief, Employee Cervion was brought back to his position after
         his suspension with a "letter" stating that instead of termination, Defendant Employer would
    g    give Employee Cervion one last chance.
                  On information and belief, employee Rodolfo Almazan ("Employee Almazan") was
   10    also suspended based on an investigation into his delay time. On information and belief,
         Employee Almazan is in his early thirties. On information and belief, Employee Almazan did
   11    not make complaints of an unsafe work environment nor did Employee Almazan take a
         medical leave. On information and belief, Employee Almazan was brought back to his
   12    position after his suspension with a "letter" stating that instead of termination; Defendant
         Employer would give Employee Cervion one last chance.
   13              On information and belief, employee David Barragon ("Employee Barragon") was
           also suspended based on an investigation into his delay time. On information and belief,
   14    Employee Barragon is in his mid-twenties. On information and belief, Employee Barragon
          did not make complaints of an unsafe work environment nor did Employee Barragon take a
   15
          medical leave. On information and belief, Employee Barragon was brought back to his
   16     position after his suspension without any "letters."
                   Employer was substantially motivated to and did discriminate and retaliate against
   17     Plaintiff based upon Plaintiffs actual and perceived disabilities and likelihood of becoming
          disabled and Plaintiffs attempts to and exercise of Plaintiffs right to accommodations, and
   18.
          retaliated against Plaintiff's opposition to disability discrimination and OSHA violations.
                   Employer's discriminatory adverse employment actions against Plaintiff included
   19     excessive, unfair and/or false criticisms, removal of responsibilities, exclusion from
          communications that would have assisted Plaintiff in performing Plaintiffs duties, less
   20     desirable schedule and pay, reduction in Plaintiff's opportunity for success and
          advancement, assignment to more menial, difficult and/or dirty tasks, failure and refusal to
   21     stop the harassment and discrimination, denial of training and otherwise discriminating and
          retaliating against Plaintiff in the terms and conditions and existence of Plaintiffs
   22     employment, and finally, on or about September 18, 2020, terminating, and thereafter
          refusing to reinstate, Plaintiffs employment.
   23              Employer's supervisors and managers knew and had reason to know Plaintiff
          opposed Employer's discriminatory and retaliatory adverse employment actions. Employer •
   24
          retaliated against Plaintiff for opposing harassment, discrimination and retaliation by
   25     subjecting Plaintiff to additional adverse employment actions.
                   On information and belief, Employer replaced Plaintiff with a less qualified
   26

   27                                                 -6-
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   1 individual not in Plaintiff's protected class.
              On information and belief, Employer harassed, discriminated and/or retaliated
   2 against other employees based on the same protected class as Plaintiff.
              On information and belief, Employer did not terminate or discipline other
   3 employees outside Plaintiffs protected class as severely for the same purported
     deficiencies for which Employer terminated and/or disciplined Plaintiff.
   4          On information and belief Defendants had policies and practices of depriving and
     retaliating against Plaintiff and others for attempts to exercise their rights to
   5 accommodations and disability rights.
              As the proximate result of Defendants' wrongful conduct, Plaintiff has and will
   6
     suffer past and future lost wages and benefits in an amount to be determined by the trier of
   7 fact, but estimated to be no less than $200,000. As the proximate result of Defendants'
     wrongful conduct, Plaintiff has and will suffer emotional distress damages in an amount to
   8 be determined in the discretion of the trier of fact, but estimated to be no less than
     $400,000.
   9          Supr. Starke, Supr. Ramirez, and Supr. Adrian are managing agents of Employer
     becguse on information and belief they set policies for Employer, including by determining
  10 what to enforce, had responsibility for compliance, had the power to make highly influential
     hiring and firing recommendations, and manage, supervise, evaluate and discipline other
  11 managers, and enter into binding agreements on behalf of Employer. They participated in
     and/or ratified the discriminatory, retaliatory and unlawful termination of Plaintiff.
  12

  13

  14

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  25

  26

  27                                                 -7-
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  28 Date
          Filed: April 8, 2021
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    1 VERIFICATION
    2 I, Geoffrey C Lyon, am the Attorney in the above-entitled complaint. I have read the
      foregoing complaint and know the contents thereof. The matters alleged are based
    3
      on information and belief, which I believe to be true.
    4
      On April 8, 2021, I declare under penalty of perjury under the laws of the State of
    5 California that the foregoing is true and correct.
    6
                                                                         Long Beach CA
    7
    8
    9
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   27                                             -8-
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Electronically FILED by Superior Court of California. County of Los Angeles on 04/16/2021 10:52 AM Sherri R. Carter. Executive Officer/Clerk of Court, by R. Perez,Deputy CIGIIVI-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)Z1b I UV 14441
            Geoffrey C. Lyon (SBN 132747)                                                                                                       FOR COURT USE ONLY

            3605 Long Beach Blvd. Ste. 311
            Long Beach, CA 90807

                    TELEPHONE NO.:     310-818-7700                        FAX NO. (Optional):   424-832-7405
               ATTORNEY Fort   (Name): ADAM ALBARRAN
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            ST REEF ADDRESS: 111 N. Hill St.
            MAILING ADDRESS: 1 11 N. Hill St.
           CITY AND ZIP CODE: Los Angeles, CA 90012
                BRANCH NAME: Stanley Mosk Courthouse

           CASE NAME:
            ADAM ALBARRAN v. US FOODS, INC. dba U.S. FOODSERVICE, INC,
                 CIVIL CASE COVER SHEET               Complex Case Designation              CASE NUMBER:

                 Unlimited         Limited                Counter               Joinder         21Si - C -V14442
                 (Amount           (Amount
                 demanded                         Filed with first appearance by defendant  JUDGE:
                                   demanded is
                 exceeds $25,000)                     (Cal. Rules of Court, rule 3.402)
                                   $25,000)                                                  DEPT.:

                                    Items 1-6 below must be completed (see instructions on page 2).
           1. Check one box be ow for the case type that best describes this case:
             Auto Tort                                         Contract                                                  Provisionally Complex Civil Litigation
                 1 Auto   (22)                                       Breach of contract/warranty (06)                    (Cal. Rules of Court, rules 3.400-3.403)
                   Uninsured motorist (46)                           Rule 3.740 collections (09)                                Antitrust/Trade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                Other collections (09)                                     Construction defect (10)
             Damage/Wrongful Death) Tort
                                                                     Insurance coverage (18)                             F-1 Mass tort (40)
                   Asbestos (04)                                                                                                Securities litigation (28)
                                                                     Other contract (37)
                I Product liability (24)                                                                                        Environmental/Toxic tort (30)
                                                               Real Property
                   Medical malpractice (45)                                                                                     Insurance coverage claims arising from the
                                                                     Eminent domain/Inverse
                   Other Pl/PD/WD (23)                               condemnation (14)                                          above listed provisionally complex case
                                                                                                                                types (41)
             Non-PI/PD/WD (Other) Tort                               Wrongful eviction (33)                              Enforcement of Judgment
                   Business tort/unfair business practice (07)       Other real property (26)                                   Enforcement of judgment (20)
                   Civil rights (08)                           Unlawful Detainer
                                                                                                                         Miscellaneous Civil Complaint
                   Defamation (13)                                   Commercial (31)
                                                                                                                                RICO (27)
                   Fraud (16)                                        Residential  (32)
                                                                                                                                Other complaint (not specified above) (42)
                   Intellectual property (19)                        Drugs   (38)
                                                                                                                         Miscellaneous Civil Petition
                   Professional negligence (25)                Judicial Review
                                                                     Asset forfeiture (05)                                       Partnership and corporate governance (21)
                   Other non-PI/PD/WD tort (35)
             Employment                                              Petition re: arbitration award (11)                        Other petition (not specified above) (43)
                   Wrongful termination (36)                         Writ of mandate    (02)
                   Other employment (15)                             Other judicial review (39)
          2.   This case          is            is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
              a.        Large number of separately represented parties            d. 1- 1 Large number of witnesses
              b.        Extensive motion practice raising difficult or novel e. I          1 Coordination with related actions pending in one or more
                        issues that will be time-consuming to resolve                        courts in other counties, states, or countries, or in a federal
              c.        Substantial amount of documentary evidence                           court
                                                                                  f.         Substantial postjudgment judicial supervision
         3. Remedies sought (check all that apply): a. j x 1 monetary b.                  nonmonetary; declaratory or injunctive relief c.           punitive
         4. Number of causes of action (specify): Eleven (11)
         5. This case              is           is not  a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
         Date: April 5, 2021
         Geoffrey C. Lyon
                                  (TYPE OR PRINT NAME)                                                          (SIGNATURE OF PARTY O
                                                                               NOTICE
           a Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
          e File this cover sheet in addition to any cover sheet required by local court rule.
          a If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
             Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                               Pagel of 2
         Fomi Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.140;
         Judicial Council of California                                  CIVIL CASE COVER SHEET                                           Cal. Standards of Judicial Administration, std. 3.10
         CM-010 [Rev. July 1, 2007]
                                                                                                                                                                           WWW.COUITS.ca.gov
    Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 72 of 86 Page ID #:72
                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex,                                      CASE TYPES AND EXAMPLES
  Auto Tort                                     Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.490-3.403)
         Damage/Wrongful Death                         Breach of Rental/Lease .                         Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                       Contract (not unlawful detainer             Construction Defect (10)
       case involves an uninsured                               or wrongful eviction)                   Claims Involving Mass Tort (40)
      motorist claim subject to                        Contract/Warranty Breach—Seller                  Securities Litigation (28)
       arbitration, check this item                      • Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
      instead of Auto)                                 Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PUPDAND (Personal Injury/                            Warranty                                         (arising from provisionally comp/ex
 Property Damage/VVrongful Death)                      Other Breach of Contract/Warranty                     case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                          Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case-Seller Plaintiff                 Abstract of Judgment (Out of
       Asbestos Personal Injury/                       Other Promissory Note/Collections                      County)
              Wrongful Death                                Case                                    Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                 domestic relations)
         toxic/environmental) (24)                     complex) (18)                                Sister State Judgment
     Medical Malpractice (45)                          AutSubrogation
                                                          o                                         Administrative Agency Award
          Medical Malpractice—                         Other Coverage                                   (not unpaid taxes)
               Physicians & Surgeons               Other Contract
                                                              t t (37)                               Petition/Certification of Entry of
     Other Professional Health Care                    Contracua
                                                               t l Fraud                                 Judgment on Unpaid Taxes
            Malpractice                                Other Contract Dispute                        Other Enforcement of Judgment
     Other PUPDAND (23)                         Real Property                                              Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                        Miscellaneous Civil Complaint
               and fall)                              Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                            Other Complaint (not specified
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)           above) (42)
          Intentional Infliction of                   Writ of Possession of Real Property                Declaratory Relief Only
               Emotional Distress                     Mortgage Foreclosure                               Injunctive Relief Only (non-
          Negligent Infliction of                     Quiet Title                                              harassment)
                Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                              domain. landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                            foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer                                         Other Civil Complaint
        Practice (07)                              Commercial (31)                                             (non-tort/non-complex)
     Civil Rights (e.g., discrimination,           Residential (3)2                               Miscellaneous Civil Petition
           false arrest) (not civil                Drugs (38) (if the case involves illegal          Partnership and Corporate
           harassment) (08)                        drugs. check this item; otherwise,                    Governance (21)
       Defamation (e.g., slander, libel)           report as Commercial or Residential)              Other Petition (not specified
           (13)                                 Judicial Review                                          above) (43)
       Fraud (16)                                   Asset Forfeiture (05)                                Civil Harassment
       Intellectual Property (19)                   Petition Re: Arbitration Award (11)                  Workplace Violence
       Professional Negligence (25)                 Writ of Mandate (02)                                 Elder/Dependent Adult
           Legal Malpractice                            Writ—Administrative Mandamus                          Abuse
           Other Professional Malpractice               Writ—Mandamus on Limited Court                   Election Contest
               (not medical or legal)                      Case Matter                                   Petition for Name Change
       Other Non-PI/PD/vVD Tort (35)                    Writ—Other Limited Court Case                    Petition for Relief From Late
 Employment                                                Review                                             Claim
       Wrongful Termination (36)                    Other Judicial Review (39)                           Other Civil Petition
       Other Employment (15)                            Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]
                                                        CIVIL CASE COVER SHEET                                                            Page 2 of 2

                                 )6Y, plea.
                               ...aye print                                            Save this form
                        Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 73 of 86 Page ID #:73


  SHORT TITLE                  ALBARRAN v. US FOODS, INC. dba U.S. FOODSERVICE, INC.                              CASE NUMBER




                                              CIVIL CASE COVER SHEET ADDENDUM AND
                                                      STATEMENT OF LOCATION
                               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                  Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                          Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


                 Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                 Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                                  chosen.

                                                       Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                  7. Location where petitioner resides.
2. Permissive filing in central district.                                                         8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                          9. Location where one or more of the parties reside,
4. Mandatory personal injury filing in North District.                                          10. Location of Labor Commissioner Office.
                                                                                                11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                              A                                                        E                                                 ,„
                                   Civil Case Cover Shie.3t                                      Type of Action                                      Applicable Reasons -
                                         Category No.                                           (Check only one)                                      See Step 3 Above

                                          Auto (22)            O A7100 Motor Vehicle - Personal Injury/Property DarnageiWrongful Death               1, 4, 11

                                   Uninsured Motorist (46)     O A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist           1, 4, 11


                                                               O A6070 Asbestos Property Damage                                                      1, 11
                                       Asbestos (04)
                                                               ID A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11
      w O
        I--
      2 .0                          Product Liability (24)     O A7260 Product Liability (not asbestos or toxic/environmental)                       1, 4, 11
   a. o
      o
   a" Ca                                                       O A7210 Medical Malpractice - Physicians & Surgeons                                   1, 4, 11
   Other Personal Inj




                                  Medical Malpractice (45)
                        13)                                    O A7240 Other Professional Health Care Malpractice                                    1, 4, 11
                        2
                        C)                                     O A7250 Premises Liability (e.g., slip and fall)
                        O)                                                                                                                           1, 4, 11
                                      Other Personal
                                      Injury Property          O A7230 Intentional Bodily Injury/Property DamageANrongful Death (e.g.,
                                                                                                                                                     1 4 11
                        §4 1         Damage Wrongful                   assault, vandalism, etc.)
                                        Death (23)                                                                                                   1, 4, 11
                                                               O A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                     1, 4, 11
                                                               O A7220 Other Personal Injury/Property Damage/Wrongful Death




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                                                              CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
  For Mandatory Use                                              AND STATEMENT OF LOCATION                                                          Page 1 of 4
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SHORT TITLE:                                                                                             CASE NUMBER
                         ALBARRAN v. US FOODS, INC. dba U.S. FOODSERVICE, INC.


                                       A                                                         B.-                                                C Applicable
                             Civil Case Cover Sheet                                        Type of.Actign                                    Reasons - See Step 3
                                   Category No.                                           (Check only one}                                         Above

                               Business Tort (07)         O A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3

                                Civil Rights (08)         O A6005 Civil Rights/Discrimination                                                1, 2, 3

                                Defamation (13)           O A6010 Defamation (slander/libel)                                                 1, 2, 3

                                   Fraud (16)             O A6013 Fraud (no contract)                                                        1, 2, 3

                                                          O A6017 Legal Malpractice                                                          1, 2, 3
                          Professional Negligence (25)
                                                          O A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                                   Other (35)             O A6025 Other Non-Personal Injury/Property Damage tort                             1. 2, 3


     'Ea                   Wrongful Termination (36)      0   A6037 Wrongful Termination     '                                               1, 2, 3
      a)
      E
                                                          O A6024 Other Employment Complaint Case                                            1, 2, 3
       ca.                   Other Employment (15)
       E                                                  O A6109 Labor Commissioner Appeals                                                 10

                                                          O A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                             2 5
                                                                  eviction)
                          Breach of Contract/ Warranty                                                                                       2, 5
                                      (06)                O A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                (not insurance)                                                                                              1, 2, 5
                                                          O A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                             1: 2, 5
                                                          O A6028 Other Breach of Contract/Warranty (not fraud or negligence)

                                                          O A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                Collections (09)
                                                          O A6012 Other Promissory Note/Collections Case                                     5, 11
                                                          O   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                                    Purchased on or after January 1, 2014)

                            Insurance Coverage (18)       O A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                          O A6009 Contractual Fraud                                                          1, 2, 3, 5
                              Other Contract (37)         O A6031 Tortious Interference                                                      1, 2, 3, 5
                                                          O A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                            Eminent Domain/Inverse
                                                          O   A7300 Eminent Domain/Condemnation              Number of parcels               2, 6
                              Condemnation (14)

       ca.                   Wrongful Eviction (33)       O A6023 Wrongful Eviction Case                                                     2, 6
       0
                                                          ID A6018 Mortgage Foreclosure                                                      2, 6
        a)
                            Other Real Property (26)      O A6032 Quiet Title                                                                2, 6
                                                          O A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                          Unlawful Detainer-Commercial
                                                          O A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                      (31)
     Unlawful Detainer




                          Unlawful Detainer-Residential
                                                          O A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                      (32)
                              Unlawful Detainer-
                             Post-Foreclosure (34)
                                                          O A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11

                          Unlawful Detainer-Drugs (38)    O A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                          CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
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                                                             AND STATEMENT OF LOCATION                                                       Page 2 of 4
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SHORT TITLE:                                ALBARRAN v. US FOODS, INC. dba U.S. FOODSERVICE, INC.                              CASE NUMBER




                                                          A                                                           B                               C Applicable
                                                Civil Case Cover Sheet                                           Type of Action,                   Reasons - See Step 3
                                                      Category No.                                              (Check only one)                         Above

                                                 Asset Forfeiture (05)         O A6108 Asset Forfeiture Case                                       2, 3, 6

                                              Petition re Arbitration (11)     a   A6115 Petition to Compel/ConfirmNacate Arbitration              2. 5
          Judicial Review




                                                                               O A6151 Writ - Administrative Mandamus                              2. 8
                                                 Writ of Mandate (02)          O A6152 Writ - Mandamus on Limited Court Case Matter                2
                                                                               El A6153 Writ - Other Limited Court Case Review                     2


                                              Other Judicial Review (39)       O A6150 Other Writ /Judicial Review                                 2, 8


                                            Antitrust/Trade Regulation (03)    O A6003 Antitrust/Trade Regulation                                  1, 2, 8
         Provisionally Complex Litigation




                                               Construction Defect (10)        a A6007 Construction Defect                                         1, 2, 3

                                              Claims Involving Mass Tort
                                                         (40)
                                                                              a A6006 Claims Involving Mass Tort                                   1. 2, 8


                                               Securities Litigation (28)      a A6035 Securities Litigation Case                                  1, 2, 8

                                                     Toxic Tort                O A6036 Toxic Tort/Environmental                                    1, 2, 3, 8
                                                 Environmental (30)

                                             Insurance Coverage Claims
                                                                              a A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8
                                               from Complex Case (41)

                                                                               a   A6141 Sister State Judgment                                     2, 5, 11
                                                                               a   A6160 Abstract of Judgment                                      2, 6
  Enforcement




                                                     Enforcement               O A6107 Confession of Judgment (non-domestic relations)             2, 9
                                                   of Judgment (20)            a A6140 Administrative Agency Award (not unpaid taxes)              2. 8
                                                                              a A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2, 8
                                                                              a A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                                      RICO (27)                a   A6033 Racketeering (RICO) Case                                  1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                               a   A6030 Declaratory Relief Only                                   1, 2, 8

                                                  Other Complaints            a A6040 Injunctive Relief Only (not domestic/harassment)             2, 8
                                              (Not Specified Above) (42)       O A6011 Other Commercial Complaint Case (non-tort/non-complex)      1, 2, 8
                                                                               a   A6000 Other Civil Complaint (non-torUnon-complex)               1, 2, 8

                                               Partnership Corporation
                                                                               a   A6113 Partnership and Corporate Governance Case                 2, 8
                                                  Governance (21)

                                                                              a    A6121 Civil Harassment With Damages                             2. 3, 9
  Miscellaneous
  Civil Petitions




                                                                              a A6123 Workplace Harassment With Damages                            2. 3, 9
                                                                              El A6124 Elder/Dependent Adult Abuse Case With Damages               2, 3, 9
                                                 Other Petitions (Not
                                                Specified Above) (43)         a    A6190 Election Contest                                          2
                                                                              a    A6110 Petition for Change of Name/Change of Gender              2. 7
                                                                               a   A6170 Petition for Relief from Late Claim Law                   2, 3, 8
                                                                              a    A6100 Other Civil Petition                                      2, 9




                                                                              CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
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                                                                                 AND STATEMENT OF LOCATION                                         Page 3 of 4
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 SHORT TITLE:
                ALBARRAN v. US FOODS, INC. dba U.S. FOODSERVICE, INC.                     CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
              type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
              (No address required for class action cases).

                                                                           ADDRESS:
   REASON:                                                                                       155 Northam St.
           . RI 2. f. 3. Ili 4J...; 5 n 6 [17,7   8.   9. 1 ! 10. ,7111.



   CITY:                                          STATE:      ZIP CODE:


   La Mirada                                      CA         90638

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                            District of
              the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: April 5, 2021
                                                                                      (SIGNATURE OF A3 .           .rITY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                                  CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3
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                                                     AND STATEMENT OF LOCATION                                           Page 4 of 4
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                        EXHIBIT B
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 6    Attorneys for Defendant
      US FOODS, INC. dba US FOODSERVICE, INC.
 7

 8

 9                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                    FOR THE COUNTY OF LOS ANGELES
11

12    ADAM ALBARRAN,                                  Case No. 21STCV14442

13                      Plaintiff,                    Assigned to the Hon. Monica Bachner;
                                                      Dept. 71
14             v.
                                                      DEFENDANT US FOODS, INC.’S ANSWER
15    US FOODS, INC. dba US FOODSERVICE, INC.;        TO PLAINTIFF ADAM ALBARRAN’S
      and DOES 1 to 10,                               UNVERIFIED COMPLAINT FOR
16                                                    DAMAGES
                        Defendants.
17

18                                                    Complaint Filed: April 16, 2021
                                                      Trial Date:      None Set
19
20

21

22

23

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25

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27

28


                    US FOODS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      70409260v.1
     Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 79 of 86 Page ID #:79



 1             Defendant US Foods, Inc. (dba U.S. FoodService, Inc.) (“Defendant”), for itself and for no other

 2    defendant, hereby answers the unverified Complaint for Damages (“Complaint”) filed by Plaintiff Adam

 3    Albarran (“Plaintiff”) as follows:

 4                                               GENERAL DENIAL

 5             Pursuant to California Code of Civil Procedure section 431.30(d), Defendant denies generally

 6    each allegation and each purported cause of action in the Complaint, and without limiting the generality

 7    of the foregoing, denies that Plaintiff has been damaged in any amount, or at all, by reason of any acts or

 8    omissions of Defendant.

 9                                                     DEFENSES
10             In further answer to the Complaint, and as separate and distinct affirmative and other defenses,

11    Defendant alleges as follows, without assuming the burden of proof on any defense on which it would

12    not otherwise have the burden of proof by operation of law:

13                                                 FIRST DEFENSE
14                           (Failure to State a Cause of Action - All Causes of Action)
15             1.     Plaintiff’s Complaint fails to state facts sufficient to constitute a cause of action against

16    Defendants.

17                                               SECOND DEFENSE
18                                 (Statute of Limitations - All Causes of Action)
19             2.     Plaintiff’s claims, in whole or in part, are barred by the applicable statutes of limitations,
20    including, but not limited to, Government Code sections 12960 and 12965, and Code of Civil Procedure

21    sections 335.1, 338, and 339.

22                                                 THIRD DEFENSE
23                     (Failure to Exhaust Administrative Remedies – All Causes of Action)
24             3.     Plaintiff’s claims, in whole or in part, are barred because Plaintiff has failed to exhaust

25    his administrative remedies or to comply with the statutory prerequisites for bringing suit.

26    ///

27    ///

28    ///
                                                            1
                    US FOODS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT FOR DAMAGES
      70409260v.1
     Case 2:21-cv-04556-SVW-JEM Document 1 Filed 06/02/21 Page 80 of 86 Page ID #:80



 1                                               FOURTH DEFENSE

 2                                         (Laches - All Causes of Action)

 3             4.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches because

 4    Plaintiff delayed unreasonably in bringing his claims.

 5                                                FIFTH DEFENSE

 6                                         (Waiver - All Causes of Action)

 7             5.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

 8                                                SIXTH DEFENSE

 9                                        (Estoppel - All Causes of Action)
10             6.    Because of Plaintiff’s own acts or omissions, Plaintiff is barred by the equitable doctrine

11    of estoppel from maintaining this action or pursuing any cause of action alleged in the Complaint against

12    Defendant.

13                                              SEVENTH DEFENSE

14                                     (Unclean Hands - All Causes of Action)

15             7.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

16                                               EIGHTH DEFENSE

17                                       (Ratification - All Causes of Action)

18             8.    Plaintiff’s Complaint and each cause of action alleged therein, is barred on the ground

19    that Plaintiff ratified Defendant’s alleged actions.

20                                                NINTH DEFENSE

21                             (Failure to Mitigate Damages - All Causes of Action)

22             9.    Defendant alleges, based on information and belief, that Plaintiff had the ability and

23    opportunity to mitigate the purported damages alleged in the Complaint and failed to act reasonably to

24    mitigate such damages. To the extent that Plaintiff suffered any damages as a result of the facts alleged

25    in his Complaint, which Defendant denies, Plaintiff is not entitled to recover the amount of damages

26    alleged or any damages due to his failure to make reasonable efforts to mitigate or minimize the

27    damages incurred. By reason of the foregoing, Plaintiff is barred in whole or in part from recovery of

28    damages from Defendant.

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 1                                                TENTH DEFENSE

 2        (Failure to Exercise Reasonable Preventive Corrective Opportunities – All Causes of Action)

 3             10.    To the extent any of Defendant’s employees or agents engaged in unlawful

 4    discriminatory or retaliatory behavior toward Plaintiff, Defendant is not liable for any such

 5    discrimination or retaliation, or Plaintiff’s damages must be reduced, because Defendant exercised

 6    reasonable care to prevent and correct promptly any such behavior, and Plaintiff unreasonably failed to

 7    take advantage of any preventative or corrective opportunities provided or to otherwise avoid harm.

 8                                             ELEVENTH DEFENSE

 9                            (Contribution By Plaintiff’s Own Acts – All Causes Of Action)

10             11.    If the injuries and/or alleged damages in the Complaint occurred at all (which Defendant

11    denies), such injuries and/or alleged damages were proximately caused by and/or contributed to by

12    Plaintiff’s own acts, omissions, and/or failures to act.

13                                              TWELFTH DEFENSE

14                         (Workers’ Compensation Preemption - All Causes of Action)

15             12.    Plaintiff’s claims for certain damages are preempted and barred by the exclusive

16    remedies of the California Workers’ Compensation Act, Cal. Lab. Code § 3200, et seq., inasmuch as

17    they involve an employer/employee relationship subject to workers’ compensation coverage, conduct of

18    Plaintiff undertaken in the course and scope of his alleged employment with Defendant, and injuries

19    alleged by Plaintiff to have been proximately caused by his employment with Defendant.

20                                            THIRTEENTH DEFENSE

21                                      (Preemption - All Causes Of Action)

22             13.    Plaintiff’s claims are barred, in whole or in part, to the extent they are preempted by

23    federal law under 29 U.S.C. § 185 (Section 301 of the Labor Management Relations Act).

24                                           FOURTEENTH DEFENSE

25                               (After-Acquired Evidence – All Causes of Action)

26             14.    Plaintiff’s claims are barred, or his damages, if any, are limited, to the extent he engaged

27    in any misconduct of which Defendant was unaware until after Plaintiff’s termination that provides

28    independent legal cause for the termination of his employment.

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 1                                              FIFTEENTH DEFENSE

 2                                     (Undue Hardship - All Causes of Action)

 3              15.    To the extent that Plaintiffs requested accommodations that were not reasonable or would

 4    cause Defendant undue hardship, and thus were not required, Plaintiffs’ claims fail.

 5                                              SIXTEENTH DEFENSE

 6                                (Prompt Remedial Action – All Causes of Action)

 7              16.    Defendant took prompt and appropriate corrective action in response to Plaintiff’s

 8    complaints or stated concerns regarding the workplace, if in fact Plaintiff made any such complaints,

 9    thereby satisfying all legal duties and obligations Defendant had to Plaintiff, if any at all.

10                                           SEVENTEENTH DEFENSE

11                                  (CFRA Leave Provided - All Causes of Action)

12              17.    Plaintiff’s claims are barred, in whole or in part, to the extent that Defendant provided

13    Plaintiff with a leave of absence pursuant to the provisions of the California Family Rights Act, Cal.

14    Gov’t Code §§ 12945.2 et seq.

15                                            EIGHTEENTH DEFENSE

16                             (Failure to Comply With CFRA - All Causes of Action)

17              18.    Plaintiff’s claims are barred, in whole or in part, to the extent that he did not comply with

18    the prerequisites for taking leave under the California Family Rights Act, Cal. Gov’t Code §§ 12945.2,

19    et seq.

20                                             NINETEENTH DEFENSE

21                              (Reasonable Accommodation - All Causes of Action)

22              19.    Plaintiff’s claims are barred because Defendant was not legally required to provide

23    reasonable accommodation to Plaintiff and, to the extent that it was so legally required, Defendant

24    fulfilled its obligations. Neither compensatory nor punitive damages may be awarded against Defendant

25    due to its good faith efforts to make a reasonable accommodation for Plaintiff.

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 1                                               TWENTIETH DEFENSE

 2                  (Legitimate Non-Discriminatory, Non-Retaliatory Actions - All Causes of Action)

 3             20.       Plaintiff’s claims are barred, in whole or in part, because Defendant had a legitimate

 4    business reason for all actions taken with respect to Plaintiff’s employment with Defendant that was

 5    non-discriminatory, non-retaliatory, and not based on any other purportedly unlawful conduct.

 6                                             TWENTY-FIRST DEFENSE

 7                                        (Mixed Motive – All Causes of Action)

 8             21.       Even if Plaintiff should prove that his alleged disability or any other protected status was

 9    a substantial factor motivating the challenged actions, which Defendant denies, the same actions would

10    have been taken based on legitimate, non-discriminatory, non-retaliatory considerations.

11                                           TWENTY-SECOND DEFENSE

12                             (Avoidable Consequences Doctrine – All Causes of Action)

13             22.       Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred by the

14    avoidable consequences doctrine.

15                                             TWENTY-THIRD DEFENSE

16                                (Failure to Use Ordinary Care – All Causes of Action)

17             23.       Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred to the

18    extent that Plaintiff received good consideration in agreement to serve as an employee of Defendant, yet

19    failed to use ordinary care and diligence during Plaintiff’s employment, or employment-related duties,

20    pursuant to California Labor Code § 2854.

21                                           TWENTY-FOURTH DEFENSE

22                                     (Managerial Privilege - All Causes of Action)

23             24.       Any injuries Plaintiff sustained as a result of any action by Defendant are barred to the

24    extent that any and all decisions made and actions taken were in the exercise of proper managerial

25    discretion and in good faith.

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 1                                          TWENTY-FIFTH DEFENSE

 2                                 (Consent/Authorization - All Causes of Action)

 3             25.    Defendant asserts, without admitting that Defendant engaged in any of the acts or

 4    conduct attributed to it in the Complaint, that any and all actions of Defendant with regard to Plaintiff

 5    were consented to and/or authorized by Plaintiff through Plaintiff’s actions, omissions, and course of

 6    conduct.

 7                                          TWENTY-SIXTH DEFENSE

 8                    (Award of Punitive Damages is Unconstitutional - All Causes of Action)

 9             26.    To the extent Plaintiff seeks punitive or exemplary damages in his Complaint, he violates

10    the rights of Defendant to protection from “excessive fines” as provided in the Eighth Amendment to the

11    United States Constitution and in Article I, Section 17 of the Constitution of the State of California and

12    the rights of Defendant to procedural and substantive due process under the Fifth and Fourteenth

13    Amendments to the United States Constitution and under the Constitution of the State of California.

14                                        TWENTY-SEVENTH DEFENSE

15                                   (Scope of Authority - All Causes of Action)

16             27.    The Complaint, and each and every purported cause of action therein, is barred to the

17    extent that the actions of Defendant’s agents, employees, and representatives, if they occurred, were not

18    actions taken within the course and scope of their employment.

19                                         TWENTY-EIGHTH DEFENSE
20                                (Setoff And Recoupment - All Causes of Action)

21             28.    To the extent a court holds that Plaintiff is entitled to damages or penalties, which is

22    specifically denied, Defendant is entitled under the equitable doctrine of setoff and recoupment to offset

23    all overpayments and/or all obligations that Plaintiff owed to Defendant against any judgment that may

24    be entered against Defendant.

25                                          TWENTY-NINTH DEFENSE

26                                          (Offset - All Causes of Action)

27             29.    Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein,

28    is barred in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received

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 1    from any source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set

 2    forth by Witt v. Jackson, 57 Cal. 2d 57 (1961), and its progeny.

 3                                         RESERVATION OF RIGHTS

 4             30.    Defendant does not presently know all of the facts and circumstances respecting

 5    Plaintiff’s claims. Defendant has not knowingly or intentionally waived any applicable defenses and

 6    reserves the right to assert and rely on such other applicable defenses as may later become available or

 7    apparent. Defendant further reserves the right to amend their answer or defenses accordingly and/or to

 8    delete defenses that they determine are not applicable during the course of discovery.

 9                                                    PRAYER
10             WHEREFORE, Defendant prays for judgment as follows:

11             1.     That Plaintiff take nothing by his Complaint;

12             2.     That judgment be entered in favor of Defendant and against Plaintiff on all causes of

13                    action;

14             3.     That Defendant be awarded reasonable attorneys’ fees according to proof;

15             4.     That Defendant be awarded their costs of suit incurred herein; and,

16             5.     That Defendant be awarded such other and further relief as the Court may deem

17                    appropriate.

18    DATED: June 1, 2021                                     SEYFARTH SHAW LLP
19
20                                                            By:
                                                                    Jonathan L. Brophy
21                                                                  David Rosenberg
                                                                    Attorneys for Defendant
22                                                                  US FOODS, INC. dba US FOODSERVICE,
                                                                    INC.
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 1                                              PROOF OF SERVICE

 2    STATE OF CALIFORNIA                                )
                                                         )       ss
 3    COUNTY OF LOS ANGELES                              )

 4           I am a resident of the State of California, over the age of eighteen years, and not a party to the
      within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5    90067-3021. On June 1, 2021, I served the within document(s):

 6                  DEFENDANT US FOODS, INC.’S ANSWER TO PLAINTIFF ADAM ALBARRAN’S
                                 UNVERIFIED COMPLAINT FOR DAMAGES
 7
              by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
 8      
         in the United States mail at Los Angeles, California, addressed as set forth below.

 9            by placing the document(s) listed above in a sealed envelope or package provided by an
        
         overnight delivery carrier with postage paid on account and deposited for collection with the
10            overnight carrier at Los Angeles, California, addressed as set forth below.

11            by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
        
         below.
12
             Geoffrey C. Lyon                                Attorneys for Plaintiff ADAM ALBARRAN
13           LYON LAW, PC
             3605 Long Beach Blvd., Ste. 311                 Telephone: (310) 818-7700
14
             Long Beach, CA 90807
15                                                           Email: glyon@lyonlawyer.com

16            I am readily familiar with the firm's practice of collection and processing correspondence for
      mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
17    postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
      served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
18    after date of deposit for mailing in affidavit.

19           I declare under penalty of perjury under the laws of the State of California that the above is true
      and correct.
20
               Executed on June 1, 2021, at Los Angeles, California.
21

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23                                                                              Patricia Cloutier

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